      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 1 of 89 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 J-M MANUFACTRING COMPANY, INC.,

        Plaintiffs,

        v.
                                                      Civil Action No. 1:24-cv-________
 SIMMONS HANLY CONROY, LLP,
 NICOHLAS ANGELIDES, PERRY                            Count I: RICO (18 U.S.C. § 1962(c))
 BROWDER, AMY GARRETT, BENJAMIN                       Count II: RICO (18 U.S.C. § 1962(d))
 GOLDSTEIN, SUVIR DHAR, CRYSTAL                       Count III: Common Law Fraud
 FOLEY, DEBORAH ROSENTHAL, STAN                       Count IV: Unjust Enrichment
 JONES, and JOHN AND JANE DOES 1-25,                  Count V: Civil Conspiracy

        Defendants.




                                         COMPLAINT

       Plaintiff J-M Manufacturing Company, Inc. (“J-M Manufacturing”) brings this action

against Simmons Hanly Conroy, LLP (“Simmons Hanly”), Nicholas Angelides, Perry Browder,

Amy Garrett, Benjamin Goldstein, Suvir Dhar, Crystal Foley, Deborah Rosenthal, Stan Jones, and

John and Jane Does 1-25 (collectively, the “Simmons Hanly Defendants” or “Defendants”) for a

multi-year pattern of racketeering activity in which the Simmons Hanly Defendants filed sham

lawsuits, pursued baseless claims, and otherwise sought to extract money from J-M Manufacturing

through a pattern of fraud, coercion, and the suppression of evidence.

                                       INTRODUCTION

       1.      As asbestos-related disease fades into the past, it has been replaced by a new

malignancy: asbestos litigation. Courts, commentators, and the United States Department of
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 2 of 89 PageID #:2




Justice have all recently highlighted a concerning pattern of misconduct by plaintiff’s law firms in

asbestos litigation. 1 This case focuses on the unfortunate perpetuation of that trend by Simmons

Hanly and the individual Defendants across many lawsuits at the expense of J-M Manufacturing.

       2.      Over the last 20 years, Simmons Hanly and its professionals have used asbestos

litigation to enrich themselves. The firm has filed thousands of cases and “recovered” in excess

of $9 billion. But a recent lawsuit has cast a different light on this “success.” According to a

former Simmons Hanly partner (Scott Peebles), the firm has engaged in a pattern of “unlawful,

unethical conduct, and fraudulent conduct” to gain the upper hand in asbestos litigation. This

includes the use of false statements of fact, the subornment of perjury, and other acts of moral

turpitude, dishonesty, and corruption.

       3.      The pattern of fraud and misconduct extends to the cases that the firm has brought

against J-M Manufacturing. Simmons Hanly has filed hundreds of cases against the company,

causing it to spend significant sums of money in defense of sham asbestos lawsuits. As part of

those cases, the firm has used a coordinated, well-developed, and long-running strategy that

involves evidence suppression, shifting narratives, and fraud.




1
   See, e.g., Garlock Sealing Techs., LLC v. Shein, No. 3:14-cv-116, 2015 WL 5155362, at *3
(W.D.N.C. Sept. 2, 2015) (stating asbestos litigation misconduct alleged “goes well past the kind
of routine litigation activities” in an ordinary case); In re Garlock Sealing Techs., LLC, 504 B.R.
71, 86 (Bankr. W.D.N.C. 2014) (observing a “startling pattern of misrepresentation” in asbestos
litigation”); CSX Transp., Inc. v. Gilikison, No. 5:05CV202, 2012 WL 1598081, at *10 (N.D. W.
Va. May 3, 2012) (concluding alleged conduct amounted to a complex fraud scheme that went
beyond ordinary litigation activity); Lester Brickman, Civil RICO: An Effective Deterrent to
Fraudulent Asbestos Litigation?, 40 Cardozo L. Rec. 2301 (2019); Honorable Peggy L. Ableman,
The Garlock Decision Should Be Required Reading for All Trial Court Judges in Asbestos Cases
37 Am. J. Trial Advoc. 479 (2014); Lester Brickman, Fraud and Abuse in Mesothelioma
Litigation, 88 Tul. L. Rev. 1072 (2014); Roger Parloff, The $200 Billion Miscarriage of Justice,
Fortune, Mar. 4, 2002; U.S. Dep’t of Justice, Justice Department Files Statement of Interest Urging
Transparency in the Compensation of Asbestos Claims (Dec. 28, 2020).



                                               -2-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 3 of 89 PageID #:3




       4.      The strategy, which was developed by management of the firm’s Asbestos

Department and implemented by the asbestos litigators, centers on a “story” that the firm has

developed about J-M Manufacturing.         The “story” includes an implausible, but difficult to

affirmatively disprove, narrative about the manner in which the firm’s clients were purportedly

exposed to asbestos in J-M Manufacturing’s asbestos-cement pipe, complete with a plan for

demonstrating consistent and prolonged exposure.

       5.      To support the “story,” the firm “find[s] the evidence” and “build[s]” its case, with

the help of its asbestos case investigators. 2 This is done by reconstructing – or sometimes just

fabricating – the client’s work history, determining what products are relevant to that work history,

and fitting that work history around the “story” for each defendant. As part of this process, and

based on information and belief, the firm identifies any solvent company that may have had an

asbestos-containing product at any worksite at which its clients might have worked, naming that

company as a defendant in order to extract money from as many companies as possible.

       6.      After the firm constructs the narrative, it prepares and files the lawsuit in one of a

few specific jurisdictions known to be favorable to asbestos plaintiffs. Each lawsuit that the firm

files generally accuses more than 20 defendants.

       7.      Once the lawsuit is filed, the firm employs a very specific strategy in an attempt to

maximize recovery. Based on the evidence detailed below, the components of that strategy include

(a) offering scripted product identification and exposure testimony; (b) downplaying any evidence

of exposure to a product of a bankrupt company or to product warnings; (c) in certain instances,

concealing information about claims filed with asbestos bankruptcy trusts or delaying the filing of



2
   Simmons Hanly Conroy, Mesothelioma Law Firm, https://www.simmonsfirm.com/
mesothelioma/; Simmons Hanly Conroy, What to Expect When Filing a Mesothelioma Claim,
https://www.youtube.com/watch?v=_dmUEVn7ZIk.


                                                -3-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 4 of 89 PageID #:4




those claims until the tort litigation is concluded; (d) offering vague, unverifiable, or, in some

instances, fraudulent details about employers and co-workers to limit the ability to refute product

identification and exposure testimony; and (e) obstructing efforts by defendants to obtain evidence

that may refute the firm’s narrative.

       8.       As part of a broader strategy, the firm appears to have made sham filings against

numerous defendants, including J-M Manufacturing, in an effort to extract a settlement or to use

as a bargaining chip to entice settlement in other matters. The firm knows both the cost of defense

and the risk of a runaway verdict in its handpicked forum provide it settlement leverage even for

the most dubious lawsuits.

       9.       The firm reportedly goes to great lengths to cover up its fraud and misconduct. As

illustrated by the circumstances surrounding the complaint filed by former Simmons Hanly partner

Peebles, the firm attempts to silence anyone who may expose its scheme, making retaliatory

filings, terminating employees who will not fall in line, and fighting the release of any information

that might reveal the fraud.

       10.      As part of a case review done by J-M Manufacturing, it has found evidence of the

scheme and each of these tactics across a number of different lawsuits in many different

jurisdictions over a number of years. The evidence includes perjured testimony, falsified sworn

statements, untrue discovery responses, asbestos bankruptcy claims that were not disclosed, and

sham lawsuits that were dismissed voluntarily as part of a settlement of another firm matter or to

avoid exposure of the fraud. In other words, the allegations of the former firm partner Peebles are

not mistaken.

       11.      Since 2001, Simmons Hanly has filed more than 430 cases against J-M

Manufacturing. J-M Manufacturing has settled more than 75 of those cases based on its evaluation




                                                -4-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 5 of 89 PageID #:5




of the “facts” presented by Simmons Hanly. It is now clear that at least some of those “facts” were

not facts at all; they were falsehoods peddled by Simmons Hanly. These untrue statements have

caused J-M Manufacturing to incur vast sums of litigation fees and expenses defending against

claims brought by the firm. Were it not for the flow of falsehoods about their clients’ workplaces

and alleged exposure, J-M Manufacturing also likely would have avoided or reduced the sums paid

to Simmons Hanly and its clients in connection with underlying asbestos lawsuit settlements and

judgments.

       12.     J-M Manufacturing brings this lawsuit to redress the harm caused to it by Simmons

Hanly and ensure that the firm’s scheme does not continue. The conduct at the center of this case

“goes well past . . . routine litigation activities.” It is not zealous advocacy. It is fraud, and

Simmons Hanly and the professionals who participated in the fraud should be held accountable.

                                           PARTIES

       13.     Plaintiff J-M Manufacturing Company, Inc. (previously defined as “J-M

Manufacturing”) is a Delaware corporation with its principal place of business in Los Angeles,

California. The company is one of the largest plastic pipe manufacturers in the United States and

has more than 800 employees located in manufacturing facilities across the country. From 1983

to 1988, J-M Manufacturing sold a limited amount of cement pipe that contained asbestos (“ACP”)

to accommodate water districts until those clients transitioned to PVC pipes.

       14.     Defendant Simmons Hanly Conroy, LLP (previously defined as “Simmons Hanly”

or the “firm”) is an Illinois limited liability company that is based in Alton, Illinois. The

shareholders or partners of Simmons Hanly reside in various states in which the firm has offices,

including Illinois, California, New York, Missouri, and Massachusetts. During the relevant time

period, Simmons Hanly maintained an office in Chicago, Illinois, and the firm currently lists 28

lawyers on its website as located in Chicago.


                                                -5-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 6 of 89 PageID #:6




       15.      Defendant Nicholas Angelides is a partner at Simmons Hanly and part of the firm’s

leadership team. Angelides is based in the firm’s locations in Chicago and Alton, Illinois, and

serves as the Chair of the firm’s Asbestos Department. According to his Simmons Hanly webpage,

Angelides has “directed the legal strategy of all of the firm’s asbestos and mesothelioma cases”

since 2012. 3

       16.      Defendant Perry Browder is a partner at Simmons Hanly and part of the firm’s

leadership team. Browder is based in the firm’s locations in Chicago and Alton, Illinois, and serves

as the Head of the firm’s Asbestos Department. According to his Simmons Hanly webpage,

Browder “manages the firm’s more than 50 asbestos attorneys” and “oversees all asbestos cases

to ensure they are handled in an efficient manner that maximizes results.” 4

       17.      Amy Garrett is a partner at Simmons Hanly and the Assistant Managing Partner of

the firm. Garrett is based in the firm’s locations in Chicago and Alton, Illinois, and is a member

of the firm’s Asbestos Department. 5 Garrett is identified in the Peebles complaint as the member

of Simmons Hanly “upper management” to whom Peebles reported the unethical and unlawful

conduct that was occurring in the Asbestos Department. The Peebles complaint also identifies

Garrett as one of the individuals who summarily fired Peebles.

       18.      Benjamin Goldstein is of counsel at Simmons Hanly and a member of the firm’s

Asbestos Department. Goldstein is based in the firm’s office in San Francisco, California, and




3
  Simmons Hanly Conroy, Nicholas J. Angelides, https://www.simmonsfirm.com/about-us/our-
attorneys/nicholas-j-angelides/.
4
   Simmons Hanly Conroy, Perry J. Browder, https://www.simmonsfirm.com/about-us/our-
attorneys/perry-j-browder/.
5
   Simmons Hanly Conroy, Amy E. Garrett, https://www.simmonsfirm.com/about-us/our-
attorneys/amy-e-garrett/.



                                               -6-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 7 of 89 PageID #:7




serves as the firm’s West Coast Asbestos Litigation Manager. 6 Goldstein supervised Scott Peebles

when Peebles worked at the firm and is identified in the Peebles complaint – concerning a pattern

of fraud at the firm – as ROE 1. Goldstein previously was a shareholder at the firm, but transitioned

to “of counsel” after the filing of the Peebles complaint.

       19.       Suvir Dhar is a former Simmons Hanly partner and was in the firm’s Asbestos

Department. Dhar was based in the firm’s office in Alton, Illinois. Dhar admitted that Simmons

Hanly filed a complaint against J-M Manufacturing knowing it contained false information.

       20.     Crystal Foley is a partner at Simmons Hanly and part of the firm’s Asbestos

Department. Foley is listed in the firm’s office in El Segundo, California but resides in and works

from Illinois. Foley “oversees the firm’s California dockets, or cases that are scheduled for trial

in the California courts.” 7 On repeated occasions, Foley signed discovery responses that contained

false information and transmitted them through interstate commerce in furtherance of the Simmons

Hanly Defendants’ scheme.

       21.     Deborah Rosenthal is a partner at Simmons Hanly and part of the firm’s Asbestos

Department. 8 Rosenthal is based in the firm’s office in San Francisco, California. Rosenthal has

been involved in some of the firm’s cases involving egregious misconduct and has threatened and

sought to intimidate lawyers working on J-M Manufacturing cases to prevent the firm’s fraud from

being exposed.




6
  Simmons Hanly Conroy, Benjamin Goldstein, https://www.simmonsfirm.com/about-us/our-
attorneys/benjamin-goldstein/.
7
    Simmons Hanly Conroy, Crystal Foley, https://www.simmonsfirm.com/about-us/our-
attorneys/crystal-foley/.
8
   Simmons Hanly Conroy, Deborah Rosenthal, https://www.simmonsfirm.com/about-us/our-
attorneys/deborah-rosenthal/.


                                                -7-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 8 of 89 PageID #:8




       22.     Stan Jones is or was an asbestos case investigator at Simmons Hanly. Jones is or

was based in the firm’s office in Alton, Illinois. Jones was assigned to or involved in the cases

that Peebles alleged were fraudulent, and was the first person that Peebles sought to depose to

prove his allegations against the firm.

       23.     John and Jane Does 1-25 are individuals who were part of the scheme described in

this complaint who either are current or former employees of Simmons Hanly or worked with the

Simmons Hanly Defendants to effectuate the scheme. Since much of the evidence about the

scheme is in the exclusive knowledge or control of the Defendants, these individuals are currently

unknown to J-M Manufacturing. Discovery will reveal the identity of these individuals.

                                 JURISDICTION AND VENUE

       24.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action arises under the laws of the United States, specifically, the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1962(c) and (d).

       25.     This Court has supplemental jurisdiction over the pendent state-law claims pursuant

to 28 U.S.C. § 1367(a) because they are so related to the RICO claims that they form part of the

same case or controversy. The claims are all based on the same underlying facts and involve all

of the same parties.

       26.     Venue is proper and appropriate in this district under 28 U.S.C. §§ 1391(b)-(d).

Simmons Hanly is headquartered in Alton, Illinois and maintained an office in Chicago, Illinois

through at least October 2021. Pursuant to 28 U.S.C. § 1391(d), Simmons Hanly resides in this

district. The firm also conducts significant activities in the district. Simmons Hanly, for example,

lists 28 lawyers on its website as located in Chicago. Those lawyers include Defendants Perry

Browder (who appears to live in the district), Nicholas Angelides, and Amy Garrett. Simmons




                                               -8-
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 9 of 89 PageID #:9




Hanly also markets itself as “Chicago Mesothelioma Lawyer(s)” who have been working in this

district for over 20 years.

        27.     In addition to a presence in the district, a substantial part of the events or omissions

giving rise to the claims occurred here, including (a) the provision of false or perjured deposition

testimony in this district; (b) preparing and sending filings and correspondence to and from this

district related to Simmons Hanly’s attempt to cover up the allegations in the Peebles complaint;

and (c) directing correspondence, discovery, deposition testimony, emails, and pleadings in

furtherance of the scheme to lawyers representing J-M Manufacturing, or lawyers representing the

company’s co-defendants, who maintain an office in the district, including those involved in

Perkins, Morgan, and Yates (described below). A substantial part of the events or omissions giving

rise to the claims in this case also occurred in this district because Simmons Hanly directed its

scheme at J-M Manufacturing co-defendants in the district, including in Swiger (described below).

In addition, and based on information and belief, Browder resides in this district and engaged in

decision-making, oversight, and predicate acts in this district.

        28.     Each of the defendants is subject to personal jurisdiction in Illinois. Simmons

Hanly is a citizen of Illinois based on its principal place of business and its status as an Illinois

limited liability company with shareholders based in Illinois.

        29.     Certain of the individual Simmons Hanly Defendants are citizens of Illinois because

they reside in Illinois, which include, based on J-M Manufacturing’s research, Nicholas Angelides,

Perry Browder, Amy Garrett, Crystal Foley, and Stan Jones. These individual Defendants and

Suvir Dhar also worked out of offices in Illinois during the relevant time and engaged in a majority

of the conduct that forms the basis of the claims while in Illinois, including, among other things,

(a) devising the scheme described in this complaint; (b) preparing and filing sham complaints;




                                                 -9-
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 10 of 89 PageID #:10




preparing, serving, or receiving fraudulent discovery responses; (c) preparing witnesses who

offered perjured testimony or soliciting perjured testimony from witnesses during depositions; (d)

negotiating settlement agreements with J-M Manufacturing; (e) developing a strategy related to

asbestos bankruptcy trust claims and preparing and filing asbestos bankruptcy trust claims; and (f)

engaging in communication by email, phone, and the mail in furtherance of the scheme.

       30.     The individual Simmons Hanly Defendants who are based in the firm’s California

offices and located in California – Goldstein and Rosenthal – are subject to personal jurisdiction

because they purposefully availed themselves of doing business in Illinois and took substantial

actions in furtherance of the scheme in Illinois. This includes (a) working with case team members

based in Illinois – including, in particular, Foley and Angelides – to develop the “story” to be used

in each case that was subject to the fraud scheme; (b) sending pleadings, discovery responses, and

correspondence containing false information or in furtherance of the scheme to Illinois and

working with case team members in Illinois to prepare such documents and correspondence;

(c) extracting settlement payments through the use of the fraudulent scheme to be paid to Simmons

Hanly in Illinois; and (d) working with members of firm management in Illinois to further the

scheme and to cover up the scheme.

                                        BACKGROUND

       31.     This case centers on a complicated fraud scheme designed and implemented by

Simmons Hanly and the individual Defendants. The scheme was deployed over a course of years

in litigation brought by the firm against J-M Manufacturing to extract settlements and obtain jury

verdicts or otherwise force J-M Manufacturing to spend money on litigation.

       32.     The scheme was disguised as aggressive litigation tactics and could not be

understood in the context of any single lawsuit against J-M Manufacturing. The scheme could

only be detected and understood once (a) former Simmons Hanly partner Scott Peebles filed a


                                               - 10 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 11 of 89 PageID #:11




lawsuit against the firm and exposed that the firm was engaged in a pattern of fraud and misconduct

in asbestos litigation, and (b) J-M Manufacturing investigated the alleged pattern of fraud and

misconduct after learning of the Peebles complaint.

       33.     As part of that investigation, J-M Manufacturing reviewed historic cases involving

Simmons Hanly to identify and evaluate potential patterns of fraud and misconduct. The company

discovered that the scheme described by Peebles was used across a number of Simmons Hanly

cases filed against the company. The company also discovered that the primary case discussed as

fraudulent by Peebles in his complaint was a case against J-M Manufacturing.

       34.     To understand the full extent of the scheme implemented by the Simmons Hanly

Defendants, the manner in which it operated, and why it worked, it is important to understand the

history of asbestos and asbestos litigation, J-M Manufacturing’s limited role in selling asbestos-

containing products, and the frauds that have been uncovered in asbestos litigation brought by

other members of the plaintiff’s bar.

       A.      History of Asbestos Usage in the United States

       35.     Asbestos was once considered a “miracle mineral.” This naturally occurring

silicate has a number of favorable characteristics that led to its widespread use. It is resistant to

fire, heat, and corrosion. It is strong, durable, and flexible with fibers than can be woven into

cloth. And it is inexpensive because of its abundant quantities.

       36.     The versality of asbestos led to its use in a number of different products in a variety

of industries. Asbestos was used in insulation, roofing, flooring, ceilings, brake and boiler linings,

wire insulation, gaskets, ship building, and household products like stove pads, ironing board

covers, and hairdryers.

       37.     The use of asbestos peaked in 1973, and it was nearly impossible not to be exposed

to at least some product containing asbestos. The most significant form of exposure came by way


                                                - 11 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 12 of 89 PageID #:12




of friable asbestos or asbestos-containing material that can be crumbled, pulverized, or reduced to

powder by human pressure and released in the air.

        38.    In 1970, Congress passed the Occupational Safety Health Act (OSHA), which led

to regulations that required the use of safety precautions in the workplace to reduce occupational

exposure to asbestos.

        39.    Labor unions followed the lead of OSHA and required union workplaces to follow

strict safety standards to mitigate the potential harm of asbestos.

        40.    Once it became common knowledge that asbestos exposure can be harmful, the use

of asbestos dropped significantly and continued to drop for the next three decades. But asbestos-

related diseases, which have an average latency period of approximately 30 years, continued to

manifest many years after the exposure that caused the disease.

        B.     J-M Manufacturing’s Limited History Selling Asbestos-Cement Pipe

        41.    J-M Manufacturing is not in the business of manufacturing asbestos products. It

manufactures plastic pipe, including polyvinyl chloride (“PVC”) and high-density polyethylene

pipe.

        42.    For a limited period of time, J-M Manufacturing sold ACP as a transitional product

until water districts started to utilize PVC pipe. This occurred from 1983 to 1988, long after the

implementation of OSHA regulations and union requirements that imposed strict safety standards

to limit workplace exposure to asbestos.

        43.    By the time J-M Manufacturing started supplying ACP, ACP had been

manufactured and installed by other companies for decades. These companies included Johns-

Manville, CAPCO, CertainTeed, and Flintkote.




                                                - 12 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 13 of 89 PageID #:13




       44.     ACP was not available to the general public or in hardware store, and only

experienced contractors worked with ACP. The pipe was installed in an outdoor environment,

with cutting and drilling activity only occupying about 1.1% of the total field installation time.

       45.     A market for ACP persisted because it performed to the standard required by

municipalities and water districts, was impervious to acids in soils, was corrosion-resistant, and

could be worked with safely if handled in accordance with OSHA standards. Even today,

thousands of miles of ACP carry safe and clean drinking water to many Americans.

       46.     The asbestos in ACP is encapsulated, which means that it was modified by a

bonding agent, coating, binder, or other material that limit any airborne release to levels well below

OSHA exposure limits. Higher levels of exposure only occur if the pipe is cut with an unventilated

power saw or drilled into using a power drill.

       47.     ACP, however, is specifically designed and manufactured so that it does not need

to be cut or drilled. The pipe is joined by coupling systems so that the pipe sections fit together to

form a seal without drilling or cutting.

       48.     On the rare occasions that ACP needed to be cut, J-M Manufacturing’s warning on

the pipe specifically stated “not” to “use power saws to cut th[e] pipe.” This was reinforced in the

company’s manufacturing data safety sheets and installation guide.

       49.     J-M Manufacturing advised end users to cut the pipe using a snap cutter or a wheel

cutter, which limited any exposure to asbestos while cutting the product. OSHA regulations and

other workplace safety standards prohibited cutting ACP with an unventilated power saw or

drilling into the ACP without significant safety precautions.

       50.     Despite the limited duration of J-M Manufacturing’s sale of ACP and the limited

circumstances under which an individual could have been exposed to asbestos in ACP, J-M




                                                 - 13 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 14 of 89 PageID #:14




Manufacturing has been the target of more than 6,000 asbestos lawsuits since 2000. One of the

most prolific filers of these asbestos lawsuits – which ordinarily involve individuals who have an

asbestos-related disease, such as mesothelioma, that generally only occurs with prolonged

exposure to asbestos – is Simmons Hanly. Why J-M Manufacturing became a target of meritless

asbestos lawsuits becomes clear upon an examination of the history and dynamics of asbestos

litigation.

        C.     A Primer on Asbestos Litigation

        51.    Mass asbestos litigation began in earnest in the 1970s after the Fifth Circuit upheld

a strict liability asbestos product liability verdict. Asbestos litigation grew into what the Supreme

Court has called an “elephantine mass,” led to the bankruptcies of some of the country’s most

prominent companies, and developed into a Petri dish for fraud.

               1.      The Various Waves in Asbestos Litigation

        52.    The initial asbestos lawsuits were focused on companies that manufactured or

distributed friable asbestos products — a group of companies that has come to be known as the

“Big Dusties.” The first target was Johns-Manville, which was the largest producer of asbestos-

containing products in the United States. By the early 1980s, Johns-Manville was facing 16,000

asbestos claims, mostly related to insulation products, and made the surprising decision to file for

bankruptcy, which halted litigation against the company. When the company filed for bankruptcy,

there was not a single asbestos claim against the company related to ACP.

        53.    The plaintiff’s law firms then turned their attention to other friable asbestos

manufacturers and distributors, including boilermaker Babcock & Wilcox, insulation maker

Owens Corning, and chemical giant W.R. Grace. The potential exposure scenarios for plaintiff

claims underlying these lawsuits was nearly infinite because of the ubiquity of exposure to friable

asbestos. The recovery that could be obtained in these cases also was significant. The crush of


                                               - 14 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 15 of 89 PageID #:15




claims that these companies faced led to a wave of bankruptcy filings that crested in the early

2000s and involved nearly all of the friable asbestos manufacturers and distributors.

       54.     With the most obvious asbestos defendants out of the picture as a result of

bankruptcy, plaintiff’s law firms turned to second- and third-tier defendants to bear the brunt of

litigation. These companies were not sued because it was likely that their products were the cause

of the plaintiffs’ asbestos-related disease, but because they were solvent. Plaintiff’s lawyers saw

this as a natural evolution of asbestos litigation, whereas defense lawyers saw this as a “search for

the solvent bystander.”

       55.     As part of this post-bankruptcy wave of asbestos litigation, plaintiff’s law firms,

including Simmons Hanly, started to file lawsuits against J-M Manufacturing. The complaints

filed in these cases typically expanded the number of companies named as co-defendants in an

obvious attempt to use a lawsuit to go hunting for a case against a solvent defendant.

               2.      The Bankruptcy Trusts

       56.     As part of the bankruptcy proceedings that started with Johns-Manville, the

bankruptcy courts approved the creation of asbestos personal injury bankruptcy trusts. These

bankruptcy trusts assume all of the debtor’s asbestos-related liabilities and are funded through the

contribution of debtor assets to the trusts for investment and management. The purpose of the

bankruptcy trusts is to provide compensation to present and future claimants for harm caused by

exposure to asbestos for which a particular company is responsible. 9




9
  The U.S. Government Accountability Office has issued a report that provides detailed
information about the role and administration of asbestos trusts and explains the significant role
of the plaintiff’s law firms in their operation and management. U.S. Gov’t Accountability Office,
Asbestos Injury Compensation: The Role and Administration of Asbestos Trusts (Sept. 2011).


                                               - 15 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 16 of 89 PageID #:16




        57.     The fox is guarding the proverbial hen house of these trusts. The trusts are privately

managed and operated with little to no judicial or federal oversight. The trusts generally consist

of one or more trustees, a trust advisory committee, and a future claims representative. Leading

plaintiff’s law firms with the largest quantum of asbestos plaintiffs populate the trust advisory

committees, write the trust distribution procedures, and appoint the future claims representative

and trustees.

        58.     The trust distribution procedures include sections related to the intake and

evaluation of claims, payment processes, and audit programs. These procedures also set out

whether and when claims information will be made publicly available.

        59.     The trust distribution procedures are typically written to limit transparency into the

trust and facilitate quick payment of trust claims with limited oversight. Information about

claimants typically is only available when a claimant consents or a court issues a subpoena

requiring disclosure.

        60.     The bankruptcy trusts make available a second avenue of compensation for asbestos

plaintiffs.   Asbestos plaintiffs can pursue compensation in both tort litigation and through

bankruptcy trust claims.

                3.      Opportunity to Commit Fraud

        61.     The parallel sources of compensation – tort and trust – create an environment that

facilitates fraud. Asbestos litigation focuses on exposure events that occurred 30 or 40 years in

the past. Because records are discarded and memories fade, it is difficult to refute the testimony

of witnesses about exposure in asbestos litigation.




                                                - 16 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 17 of 89 PageID #:17




        62.    As part of the tort litigation, asbestos plaintiffs rarely mention the names of

bankrupt companies as a source of potential exposure. 10 They, instead, focus testimony and

evidentiary development on solvent defendants.          By focusing on solvent companies and

minimizing the role of bankrupt ones, an asbestos plaintiff’s law firm can maximize recovery by

avoiding apportionment of liability to an insolvent entity.

        63.    At the same time, the rules around the bankruptcy trusts provide an asbestos

plaintiff’s law firm with an avenue to delay the filing of claims or to make claims against a trust

under the veil of confidentiality beyond which defendants have limited, if any, ability to see unless

they can take discovery in lawsuits like this one.

        64.    The opportunities for fraud related to asbestos bankruptcy trusts and in the

underlying asbestos lawsuits are well documented. A former Deputy Assistant Attorney General

of the Department of Justice’s Civil Division has recognized that “[i]t has become increasingly

common for claimants’ counsel to seek duplicative recoveries from multiple sources by

misrepresenting the asbestos products to which claimants were exposed.” 11           The academic

community has also documented the potential for, and occurrence of, fraud in asbestos lawsuits.

Appendix A to this complaint contains a selection of relevant literature about fraud in asbestos

litigation.




10
  See, e.g., U.S. Chamber of Commerce for Legal Reform, The Asbestos Over-Naming and Trust
Transparency Problem: A Philadelphia Case Study (Mar. 2024); RAND Corp., Bankruptcy Trusts
Complicated the Outcomes of Asbestos Lawsuits.
11
  U.S. Dep’t of Justice, Justice Department Files Statement of Interest Urging Transparency in
the Compensation of Asbestos Claims (Dec. 28, 2020).



                                               - 17 -
       Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 18 of 89 PageID #:18




         D.      Past Instances of Fraud in Asbestos Litigation

         65.     In the past, certain plaintiff’s law firms have found it too difficult to resist the

temptation to commit fraud. There have been a handful of high-profile cases arising from their

misconduct.

         66.     The first such case was filed by G-I Holdings, which was a successor to a

manufacturer of insulating cement named GAF Corporation. 12 In connection with that case, G-I

Holdings learned that the law firm Baron & Budd had created a twenty-page “witness preparation”

memorandum – the “Baron & Budd Memo” – that set forth specific instructions to clients as to the

answers to give during a deposition, including answers about the products to which they were

exposed, the products to which they were not exposed (products of bankrupt companies), and the

absence of warning labels. 13 The memorandum assured clients that the defense lawyers deposing

them would have no way of knowing what products they had actually used, inferring that they

could not be challenged regardless of how false their exposure claims were.

         67.     The second case was filed by CSX Transportation (“CSX”). As part of that case,

CSX discovered that a plaintiff’s law firm and doctor had engaged in a pattern and practice of

unlawful conduct in connection with asbestos litigation in an attempt to enrich themselves. 14 The

unlawful scheme included bribing transportation union officials to obtain clients, generating

claimants through mass screenings and fraudulent x-ray readings, and filing mass lawsuits against

CSX in an effort to force the settlement of thousands of bogus claims. The unlawful scheme was

exposed when CSX successfully convinced the West Virginia courts to issue a case management



12
     G-I Holdings, Inc. v. Baron & Budd, 179 F. Supp. 2d 233 (S.D.N.Y. 2001).
13
     A copy of the Baron & Budd Memo is attached as Exhibit A.
14
  Third Amended Complaint, CSX Transp., Inc. v. Peirce, No. 2:05-cv-202, 2011 WL 9698685
(N.D. W. Va. Oct. 19, 2011).


                                                - 18 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 19 of 89 PageID #:19




order that required the claimants to certify in writing that their claims “are well-founded in fact”

and required the production of evidence related to their claimed exposure and asbestos-related

disease. In response to this order, the plaintiff’s law firms moved to dismiss all but two (2) of the

approximately 1,400 claims to which the case management order applied. These claims were

dismissed with prejudice, lending support that these claims were fraudulent. After that dismissal,

CSX filed a lawsuit against the plaintiff’s law firm and doctor for RICO violations, which led to a

multi-million dollar verdict.

       68.     The third and fourth cases were respectively filed by Garlock Sealing Technologies,

LLC (“Garlock”) and John Crane, Inc. (“JCI”). 15 In connection with these lawsuits and with the

help of a bankruptcy court in North Carolina, Garlock and JCI uncovered evidence that a series of

plaintiff’s law firms had engaged in an ongoing scheme to defraud the companies by concealing

material evidence of their clients’ exposures to asbestos-containing products of companies that

had gone bankrupt. As part of the ensuing litigation, the principal of one of the plaintiff’s law

firms admitted that it was his regular practice to delay filing trust claims until after the personal

injury cases against solvent entities were settled. Garlock also presented evidence that the

plaintiff’s law firms presented conflicting work histories and perjured testimony to conceal

exposure to products of bankrupt companies. On top of that, Garlock found instances in which the




15
  Garlock Sealing Techs., LLC v. Shein, No. 3:14-cv-137, 2015 WL 5155362 (W.D.N.C. Sep. 2,
2015); Garlock Sealing Techs., LLC, v. Waters & Kraus, LLP, No. 3:14-cv-00130, 2015 WL
1022291 (W.D.N.C. Mar. 9, 2015); Garlock Sealing Techs., LLC v. Simon Greenstone Panatier
Bartlett, No. 3:14-cv-00116, 2015 WL 5148732 (W.D.N.C., Sep. 2, 2015); Garlock Sealing
Techs., LLC v. Belluck & Fox, LLP, No. 3:14-cv-118, 2015 WL 1022279 (W.D.N.C. Mar. 9,
2015); Complaint, John Crane, Inc. v. Shein Law Ctr., Ltd., No. 1:16-cv-5913, 2016 WL 3251230
(N.D. Ill. June 6, 2016); Complaint, John Crane, Inc. v. Simon Greenstone Panatier Barlett, No.
1:16-cv-5918, 2016 WL 3251232 (N.D. Ill. June 6, 2016).


                                               - 19 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 20 of 89 PageID #:20




plaintiff’s law firm submitted bankruptcy trust claims that the law firm failed to disclose in tort

litigation.

        69.    These cases highlight the historical modus operandi of plaintiff’s law firms engaged

in fraud and misconduct in connection with underlying asbestos lawsuits.

        E.     The Simmons Hanly Defendants’ Fraudulent Scheme

        70.    Simmons Hanly is one of the most prolific asbestos litigation law firms in the

country. It has represented more than 6,000 asbestos claimants and recovered more than $9.3

billion in asbestos litigation. 16 Based on information and belief, those recoveries have netted the

firm more than $3 billion. Asbestos litigation is big business for Simmons Hanly.

        71.    To ensure continued recoveries, the Simmons Hanly Defendants have developed

and implemented a fraudulent modus operandi – the “Simmons Hanly Fraud Playbook” –that

crosses all objective legal and ethical boundaries. Based on J-M Manufacturing’s investigation

and for the reasons described below, J-M Manufacturing reasonably believes that Simmons

Hanly’s approach involves a coordinated and well-developed scheme to offer perjured testimony,

suppress evidence of exposure to the products of bankrupt companies, make misrepresentations of

fact about the existence of bankruptcy trust claims, file baseless claims in an attempt to extract

settlements, and silence anyone who attempts to expose the firm’s fraud.

        72.    The Simmons Hanly Defendants, including lawyers, non-legal professionals,

consultants, and clients working with the firm’s Asbestos Department, are a quintessential RICO

enterprise. The enterprise is highly structured. Everyone has a role to play, and they all work

toward the same goal of extracting settlements and obtaining jury verdicts through a pattern of




16
   Simmons Hanly Conroy, Mesothelioma Law Firm, https://www.simmonsfirm.com/
mesothelioma/.


                                               - 20 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 21 of 89 PageID #:21




unlawful conduct, including racketeering activity. The paragraphs below described how the

enterprise is structured, explain the enterprise’s pattern of unlawful conduct, and set out examples

of the enterprise’s conduct that has manifested in sham asbestos lawsuits against J-M

Manufacturing.

               1.      The Structure and Operation of the RICO Enterprise

       73.     The RICO enterprise is a corporate entity and an association-in-fact enterprise that

consists of the firm, the various professionals working in and with the Asbestos Department,

including the individual Defendants and John and Jane Does 1-25, certain asbestos litigation

plaintiffs, other witnesses represented by Simmons Hanly, and law firms that serve as co-counsel

with J-M Manufacturing on asbestos lawsuits. 17

       74.     The enterprise is led by members of management of the firm and the Asbestos

Department, including Nicholas Angelides, Perry Browder, and Amy Garrett. 18 Angelides is the

mastermind of the enterprise’s strategy in asbestos and mesothelioma litigation, Browder oversees

the operation of the enterprise to ensure that it maximizes results, and Garrett ensures that the

enterprise’s affairs are not exposed. The leaders of the enterprise have worked up a “story” about

each asbestos defendant, including a bogus J-M Manufacturing exposure “story,” that forms the

basis of the scheme.




17
   No asbestos plaintiff or claimant is being sued for liability in this complaint. Based on
information and belief, these individuals have been exploited by the Simmons Hanly Defendants
to effectuate the scheme.
18
  Simmons Hanly Conroy, Meet our Asbestos Leadership, https://www.simmonsfirm.com/
mesothelioma/lawyer/asbestos-leadership/.



                                               - 21 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 22 of 89 PageID #:22




       75.     The case teams that are part of the Asbestos Department are the means by which

the enterprise implements its scheme. 19 These professionals know “what is needed” and “do all

the work” necessary to effectuate the modus operandi of the fraud and misconduct. 20 The asbestos

case investigators, including Stan Jones, and other members of the team “build” the cases by

“find[ing] the evidence” to support the “story” about each defendant, while the medical

professionals develop evidence about the asbestos plaintiffs’ injuries. 21

       76.     As part of building the case, the case team purports to reconstruct the plaintiff’s

work history and consults an “internal warehouse of evidence” in search of solvent companies and

products that have any relevance to the type of work done by the plaintiff to generate a list of

defendants. 22 The team makes the list of solvent companies as large as possible, commonly

identifying nearly 70 companies as defendants. 23 Simmons Hanly appears to name all solvent

entities whose names crop up in a plaintiff’s work history as defendants in its asbestos cases

regardless of whether there is any evidence of exposure to the defendant’s asbestos-containing

product. As stated on the firm’s website, a lack of information about exposure is not a problem;



19
   Simmons Hanly Conroy, Mesothelioma Law Firm, https://www.simmonsfirm.com/
mesothelioma/ (describing the case teams).
20
    Simmons Hanly Conroy, What to Expect When Filing a Mesothelioma Claim,
https://www.youtube.com/watch?v=_dmUEVn7ZIk.
21
  Id.; Simmons Hanly Conroy, Mesothelioma Law Firm, https://www.simmonsfirm.com/
mesothelioma/.
22
  Simmons Hanly Conroy, Mesothelioma Settlements & Verdicts, https://www.simmonsfirm.com
/mesothelioma/settlements/; Simmons Hanly Conroy, Asbestos Companies, https://www.
simmonsfirm.com/mesothelioma/asbestos-exposure/companies/; Simmons Hanly Conroy,
Asbestos Products, https://www.simmonsfirm.com/mesothelioma/asbestos-exposure/products/;
Simmons Hanly Conroy, Asbestos Occupations, https://www.simmonsfirm.com/mesothelioma/
asbestos-exposure/occupations/.
23
  Simmons Hanly Conroy, Mesothelioma Settlements & Verdicts, https://www.simmonsfirm.com
/mesothelioma/settlements/.



                                               - 22 -
       Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 23 of 89 PageID #:23




the firm will just “[i]dentfy the asbestos-containing products [the plaintiff] may have been exposed

to” and seek to “[h]old the manufacturers of these products accountable.” 24

           77.   The lawyers, with the help of the paralegals and in some cases local counsel,

prepare and file a lawsuit based on the “evidence” often fabricated by the case investigators and

others and develop “plans on how to move forward.” 25 The lawsuit is filed in a plaintiff-friendly

“court system that avoids any potential complications and awards the most compensation

possible.” 26 Based on information and belief, the firm files in these jurisdiction because it knows

that it can engage in misconduct and the court is unlikely to sanction the firm or reign it in. The

firm also files in these jurisdictions because it knows that it will put pressure on the defendants to

settle regardless of the merits of any particular lawsuit.

           78.   After the case team files the lawsuit, the case team sets about extracting settlements

from as many defendants as possible and pursuing claims from asbestos trusts. 27 In the words of

the firm, the case team “targets all potential sources of compensation.” 28 The goal is to “maximize

. . . total results” and get money in the door as “quickly” as possible. 29 The firm prides itself on

being “one of the fastest asbestos law firms in the country” in extracting money from the process. 30



24
     Id. (emphasis added).
25
    Simmons Hanly Conroy, What to Expect When Filing a Mesothelioma Claim,
https://www.youtube.com/watch?v=_dmUEVn7ZIk.
26
  Simmons Hanly Conroy, Mesothelioma Settlements & Verdicts, https://www.simmonsfirm.com
/mesothelioma/settlements/.
27
     Id.
28
   Simmons Hanly Conroy, Asbestos                  Trust     Funds,   https://www.simmonsfirm.com/
mesothelioma/asbestos-trust-funds/.
29
  Simmons Hanly Conroy, Mesothelioma Settlements & Verdicts, https://www.simmonsfirm.com
/mesothelioma/settlements/.
30
     Id.



                                                 - 23 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 24 of 89 PageID #:24




       79.     As is apparent from the chronology of many of its cases, part of the firm’s strategy

is to maximize the recovery by the artful timing of filings and by concealing evidence of trust

claims or exposure to products of bankrupt companies in order to avoid an apportionment of

liability to bankrupt companies. The “trust fund claims are handled separately from [the] lawsuit

against solvent (non-bankrupt) defendants” and include the involvement of the firm’s bankruptcy

lawyers that are part of the Asbestos Department. 31 The firm knows that the trust process involves

little transparency and offers streamlined access to compensation, with members of the firm being

part of more than 20 trust advisory committees. 32

       80.     As exposed in the Peebles complaint, the firm’s strategy involves fraud, perjury,

and other misconduct. Based on information and belief, the fraud and misconduct often include

plans about what to say and not say at depositions, strategies for responding to discovery without

revealing information that could lead to discovery that the plaintiff was not exposed to a

defendant’s product, and strategies about what to say about asbestos trust claims. Based on

information and belief, the lawyers also determine what discovery to resist, the timing of litigation

activities like the plaintiff’s deposition to ensure that adverse evidence cannot be developed, and

when to use entirely baseless asbestos lawsuits as bargaining chips to extract a settlement.

       81.     The firm has been very successful implementing this strategy, extracting

settlements in “most” of its cases while obtaining payouts from a number of different asbestos




31
   Simmons Hanly Conroy, Asbestos                Trust    Funds,   https://www.simmonsfirm.com/
mesothelioma/asbestos-trust-funds/.
32
   Simmons Hanly Conroy, Lisa Nathanson Busch, https://www.simmonsfirm.com/about-us/our-
attorneys/lisa-nathanson-busch/.



                                               - 24 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 25 of 89 PageID #:25




trusts. 33 Part of the reason for the firm’s success is that it is difficult to affirmatively disprove the

firm’s narrative about exposure, the firm’s clients are highly sympathetic plaintiffs, and the firm

has filed its cases in “state court[s] that [are] likely to provide . . . the most compensation.” 34

                2.      The Objectives of the RICO Enterprise

        82.     The primary objective of the enterprise is to secure the most compensation possible

for clients and the firm regardless of whether that requires fraud and misconduct. To do that, the

enterprise members know what is important.

        83.     First, the enterprise members know that it is important for the asbestos plaintiff to

clearly and specifically identify the asbestos-containing products corresponding to one or more

named defendants in the underlying asbestos lawsuit. In the firm’s words, the timing and amount

of a settlement (and jury verdict) depend on “the strength of the evidence showing which asbestos

products [the] asbestos plaintiff” was exposed to. 35 That “evidence,” which almost always comes

by way of deposition of a single witness represented by the firm, relates to events that occurred

approximately 30 to 40 years ago so it is extremely difficult to affirmatively disprove. Based on

information and belief and supported by the cases discussed below, the enterprise members work

together to ensure that the deposition testimony follows closely to a script that includes specific

details about asbestos-containing products and how the exposure supposedly occurred, even

though these same witnesses recall virtually no other details related to the exposure.




33
        Simmons       Hanly  Conroy,     Mesothelioma     Settlements        & Verdicts,
https://www.simmonsfirm.com/mesothelioma/settlements/; Simmons Hanly Conroy, Asbestos
Trust Funds, https://www.simmonsfirm.com/mesothelioma/asbestos-trust-funds/.
34
    Simmons Hanly           Conroy,     Mesothelioma       Claims,     https://www.simmonsfirm.com/
mesothelioma/claims/.
35
  Simmons Hanly Conroy, Mesothelioma Settlements & Verdicts, https://www.simmonsfirm.com
/mesothelioma/settlements/.


                                                  - 25 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 26 of 89 PageID #:26




       84.     Second, the enterprise members know that it is important to present facts that show

actual exposure to asbestos in the tort litigation defendants’ products and for product identification

witnesses to claim that the exposure occurred frequently and over a long period of time. Based on

information and belief and supported by the cases discussed below, the enterprise members work

together to craft a narrative about how the exposure occurred, stressing that it occurred on

“hundreds” of occasions.

       85.     Third, the enterprise members know that it is important to deny the existence of

visible warnings on the asbestos-containing products. Based on information and belief and

supported by the cases discussed below, the enterprise members work together to ensure that there

is no evidence about warnings on the asbestos-containing products.

       86.     Fourth, the enterprise members know that it is important to limit the provision of

facts that may give the defendants the opportunity to disprove the “story.” Based on information

and belief and supported by the cases discussed below, the enterprise members work together to

craft vague details about work history, job sites, and co-workers that in many instances are false.

Based on information and belief and supported by the cases discussed below, the enterprise

members also work together to resist discovery efforts that might frustrate the story.

       87.     Fifth, the enterprise members know that it is important to suppress any evidence

about exposure to asbestos-containing products of bankrupt companies. Based on information and

belief and as discussed below, the enterprise members work together to conceal information about

certain product exposures at depositions and in written discovery. Based on information and belief

and as discussed below, the enterprise members also work together to hide the details of

bankruptcy trust claims filed by the plaintiff.




                                                  - 26 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 27 of 89 PageID #:27




        88.    Sixth, the enterprise members know that the firm’s asbestos plaintiffs are highly

sympathetic and that the jurisdiction in which they file their cases will ease the path to trial. Based

on information and belief and supported by the scores of the firm’s voluntary dismissals, the

enterprise members assert baseless claims to include as many defendants as possible in the lawsuit

and to extract settlements from as many solvent defendants as possible. The enterprise members

often use these claims as bargaining chips to secure a settlement in another asbestos matter of the

firm.

        89.    Seventh, the enterprise members know that it is important to protect the secrecy of

the Simmons Hanly Fraud Playbook. Based on information and belief and supported by the

dismissals in the cases discussed below, the enterprise members work together to dismiss bogus

asbestos lawsuits when they are so infected by misconduct that they may expose the scheme.

Based on information and belief and supported by the circumstances surrounding the Peebles

complaint, the enterprise members also work together to stop any efforts to make public the details

of the Simmons Hanly Fraud Playbook and address firm employees who do not fall in line.

        F.     The Simmons Hanly Fraud Playbook at Work in Litigation Against J-M
               Manufacturing

        90.    For the first two decades of its existence, J-M Manufacturing was rarely mentioned

in asbestos lawsuits. The same was true of other manufacturers and suppliers of ACP, as it was

highly improbable that ACP – with its encapsulated asbestos – led to a significant amount of

asbestos-related disease and much more likely that asbestos-related disease was the result of

exposure to products containing friable asbestos.

        91.    That changed following the bankruptcy wave in asbestos litigation in the 2000s.

Simmons Hanly soon turned its focus on J-M Manufacturing and started to file asbestos lawsuits

against the company.



                                                - 27 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 28 of 89 PageID #:28




       92.     In connection with its litigation against J-M Manufacturing, Simmons Hanly

developed and refined a “story” about exposure to asbestos in the company’s ACP that was

repeatable. The “story” that has been offered in case after case is that the asbestos plaintiff or

decedent was exposed to asbestos in the ACP at nonspecific locations and job sites when the pipe

was specifically cut with a power saw or drilled with a power drill. That exposure invariably

occurred – according to the bogus claims – on “hundreds” of occasions. 36

       93.     The Peebles complaint – which arose from the corrupt handling of a case against

J--M Manufacturing – revealed that the telling of this “story” relies on perjured testimony, false

statements, and other acts of moral turpitude, dishonesty, and corruption. The Peebles case also

highlighted how the firm’s fraudulent conduct – the Simmons Hanly Fraud Playbook – was likely

part of “a larger pattern and practice” potentially affecting thousands of Simmons Hanly clients.

       94.     A sampling of recent case files (cases resolved within the last five years) filed

against J-M Manufacturing by Simmons Hanly confirms Peebles’ allegations.

               1.      Sebastian Bretado v. 3M Company et al.

       95.     The asbestos lawsuit at the center of the Peebles case is Bretado v. 3M Company in

which J-M Manufacturing was a defendant along with 27 other separate defendant entities. That

case was filed by Simmons Hanly on October 15, 2018. Bretado claimed that his mesothelioma

was caused by working with ACP as a day laborer doing “line drainage” for several landscaping

employers in the 1980s. The complaint was filed by Simmons Hanly attorney Crystal Foley and




36
  This “story” is told regardless of whether the case is alleged as a primary exposure or a so-called
take-home exposure case. The cases based on alleged take-home exposure generally include
additional inconceivable allegations about how the asbestos made its way to the asbestos plaintiff
or decedent’s home and how the exposure repeatedly occurred.


                                               - 28 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 29 of 89 PageID #:29




alleged that Bretado had been exposed to asbestos in J-M Manufacturing’s ACP while working for

Oak Ridge Landscaping.

       96.     Foley first noticed the deposition of Bretado about a month after the complaint was

filed. The deposition went forward a little over two-and-half months after the lawsuit was filed

and before the defendants had any opportunity to meaningfully conduct discovery into Bretado’s

allegations. 37 This was done in an apparent attempt to lock in favorable testimony from Bretado

at a time when the defendants did not have adequate means and ammunition with which to

cross-examine him.

       97.     Bretado was the sole product identification in the case. At his deposition, Bretado

offered very specific testimony about the ACP he was supposedly exposed to while working as a

landscaper from 1979 to 1989, despite being unable to provide nearly any other details about the

circumstances of his employment. For example, Bretado testified that he used ACP that was

labeled “Johns-Manville transite” until 1982. Bretado then testified that in 1982 (which happened

to be the year that Johns-Manville filed for bankruptcy), he started to work with ACP that was

labeled “J-M transite” and worked with that ACP until 1989. Bretado also implausibly testified

that he recalled seeing the names of ACP distributors, such as Grinnell, written on delivery trucks

at his work sites and at other locations, even though he failed to recall the location of those

worksites.




37
   The deposition occurred over the course of seven days (January 9-10, 2019, January 16-18,
2019, January 31, 2019, and February 1, 2019), and lawyers participated in person and by
telephone. Lawyers based in Texas appeared telephonically on January 16-17, 2019, and a lawyer
from Wisconsin appeared telephonically on January 18, 2019. Based on information and belief,
the transcript was distributed to lawyers representing a defendant in Milwaukee, Wisconsin. Stan
Jones participated in the deposition and assisted with translation.


                                              - 29 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 30 of 89 PageID #:30




       98.     During the deposition, the Simmons Hanly lawyer conducting the examination

“helped” Bretado answer product identification by showing him pictures that contained the label

of the ACP ahead of the identification of the ACP and by suggesting answers. For Johns-Manville,

J-M Manufacturing, and CertainTeed, the lawyer showed Bretado a picture that included each

company’s label and then asked him if he recalled working with that pipe and to confirm that the

label was the one he remembered. When Bretado had trouble reading the company’s name on the

CertainTeed ACP in the picture he was shown, the Simmons Hanly lawyer suggested the answer

by asking “Is it CertainTeed” pipe?

       99.     When not being shown pictures of the ACP, Bretado referred to Johns-Manville as

“Johns Medville” on at least four occasions and as “John Mable” on at least one occasion.

Recognizing the importance of the testimony for the product identification issue, the Simmons

Hanly lawyer corrected Bretado, stating “[w]e will get it right. It’s Johns Manville.”

       100.    Bretado also followed the narrative on asbestos exposure related to ACP. He

specifically recalled that he would cut the pipe with a power saw and drill pipe with a power drill.

The Simmons Hanly lawyer helped this testimony by showing Bretado pictures of power saws to

lock in testimony about the types of saws Bretado purportedly used.

       101.    Aside from being able to provide a remarkable level of detail about the ACP he

supposedly used, who supposedly supplied it, and how he was supposedly exposed to asbestos

from it, Bretado recalled virtually no other detail about the landscaping work he performed.

Bretado, for example, testified that he could not recall a single specific location where he worked

with ACP, the full name of any co-workers, or the name of any customer for whom he did

landscaping work.




                                               - 30 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 31 of 89 PageID #:31




       102.    Bretado did provide the names of three employers – Oak Ridge Landscaping and

two individuals – that he claimed he worked for that used ACP in their landscaping businesses.

Though Bretado provided no real detail about those employers, J-M Manufacturing was able to

track them down. The two employers who were individuals were deceased; but their immediate

family members who were deposed in June 2019 testified that those individuals did not even run

landscaping businesses, let alone landscaping businesses that would use ACP. The principal of

the third employer – Oak Ridge Landscaping – testified in June 2019 that his company never used

ACP and that he had no recollection of Bretado. These witnesses, in other words, confirmed that

Bretado had provided false testimony.

       103.    The false testimony that Bretado provided was reinforced by the Simmons Hanly

lawyers as part of written discovery. On January 30, 2019, attorney Foley signed and served

responses to J-M Manufacturing’s form interrogatories and separate special interrogatories stating

that Bretado worked with J-M Manufacturing ACP and was exposed to asbestos from that ACP

while working with the employers that Bretado identified at his deposition. On June 14, 2019,

Foley signed and served responses to J-M Manufacturing’s supplemental interrogatories and made

the same statements.

       104.    As set out in the Peebles complaint and confirmed above, the Bretado case was

infected by perjury and false statements. In addition to Peebles and Foley, Nicholas Angelides

and Benjamin Goldstein actively facilitated the application of the Simmons Hanly Fraud Playbook

to fabricate Bretado’s allegations against J-M Manufacturing or were part of the attempt to cover

up the misconduct described in the Peebles complaint.

       105.    J-M Manufacturing spent significant sums to mount a defense to that case and

counter the product identification and exposure testimony. Given the uncertainty of litigation, the




                                              - 31 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 32 of 89 PageID #:32




company ultimately settled the case in August 2019 and made a settlement payment in or around

September 2019. Perry Browder was one of the primary Simmons Hanly lawyers involved in the

settlement and signed the settlement paperwork.

       106.    The settlement was done before J-M Manufacturing learned of the Peebles

complaint. That complaint suggests that the lawsuit was a sham and that Simmons Hanly caused

J-M Manufacturing to unnecessarily spend money on and settle the lawsuit.

               2.     Reyna Carranza v. 3M Company et al.

       107.    Simmons Hanly filed the Carranza case on November 7, 2018, which was a

wrongful death mesothelioma case in which J-M Manufacturing was a defendant. Crystal Foley

and Suvir Dhar were involved in the case as counsel from Simmons Hanly. The initial complaint

was filed by Foley and listed approximately 26 separate entities as defendants. In the complaint,

Simmons Hanly stated that Carranza had been exposed to asbestos in J-M Manufacturing’s ACP

while working for Indelcor from approximately 1983 to 1988.

       108.    The alleged exposure in the complaint was completely false. At his deposition, the

owner of Indelcor testified that the company did not exist until the mid-1990s. J-M Manufacturing

also learned that Indelcor’s owner had spoken with Suvir Dhar on the day that the initial complaint

was filed and informed Dhar that the allegations about Indelcor in the complaint were not accurate.

Dhar reportedly stated that Simmons Hanly already knew that, meaning that the firm knew the

complaint against J-M Manufacturing was not based in fact and filed it anyway.

       109.    During the litigation, the sole product identification witness was Carranza’s

brother, who was represented by Simmons Hanly.           Dhar presented Carranza’s brother for

deposition and conducted an examination of him. That deposition was in person and by telephone

and occurred over the course of six days, including June 6, 2019, June 7, 2019, June 11, 2019,




                                              - 32 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 33 of 89 PageID #:33




June 12, 2019, June 13, 2019, and November 13, 2019. Stan Jones attended the deposition for

Simmons Hanly’s initial examination of Carranza’s brother and helped with translation.

       110.    The deposition followed a familiar pattern. Carranza’s brother testified that his

brother worked under the table installing sewer ACP at “hundreds” of locations throughout

Southern California and claimed that the pipe said “J-M Transite” (despite being unable to write

or spell the word “Transite”). But Carranza’s brother could not remember the specific location or

address of any of that work, the full names of any of the “hundreds” of employers involved, or the

names of other co-workers. When confronted with his brother’s social security records showing

non-construction related work in the time frame relevant to J-M Manufacturing, the witness

claimed his brother’s social security number had been stolen and that his brother never worked at

the listed jobs. The brother also claimed that Carranza dropped out of high school to perform the

relevant construction work with him.

       111.    Carranza’s brother also testified that Carranza was exposed to asbestos in the ACP

because Carranza cut ACP “hundreds” of times using a power saw. According to Carranza’s

brother, there were no warnings on any ACP.

       112.    J-M Manufacturing was able to obtain Carranza’s high school and immigration

records, at significant time and expense. These records showed that Carranza was in high school

and/or working at the non-construction jobs listed in his social security records in the 1980s, rather

than installing underground ACP with his brother. J-M Manufacturing also discovered that ACP

was not even used for sewer systems in Southern California in the 1980s.

       113.    Both before and after the deposition of Carranza’s brother, Simmons Hanly

continued to promote in written discovery the narrative about Carranza’s exposure that had been

described by Carranza’s brother. The firm did this in at least five interrogatory responses that were




                                                - 33 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 34 of 89 PageID #:34




signed by Foley and served on April 8, 2019, June 19, 2019, November 21, 2019, and February 3,

2020. The narrative was also repeated in a summary judgment brief filed and served by Rosenthal

and Peebles on November 26, 2019.

       114.    On March 27, 2020, after forcing J-M Manufacturing to litigate for approximately

a year and a half at great expense, Simmons Hanly dismissed the case with prejudice. Foley and

Benjamin Goldstein were involved in the dismissal. The with-prejudice dismissal of Carranza

confirms that the case was a sham. But by the time of the dismissal, J-M Manufacturing had spent

a significant sum responding to the allegations in the case.

               3.      Dennis Perkins v. A.W. Chesterton et al.

       115.    On November 18, 2019, Simmons Hanly filed the Perkins case in Illinois state

court. The case involved allegations by Dennis Perkins that his wife died of mesothelioma as a

result of cleaning his uniforms that had been contaminated with asbestos. The Illinois complaint

named 24 defendants, including J-M Manufacturing and CertainTeed.

       116.    On January 23, 2020, CertainTeed/DBMP filed for bankruptcy.

       117.    On August 19, 2020, Perkins was deposed in the Illinois case by multi-platform

video conference with participants located in Illinois and North Carolina. At least one of the

participants was located in Chicago for that deposition. During the deposition, Perkins testified

about how he was purportedly exposed to asbestos that he brought home and that made his wife

sick. Perkins testified that he was exposed when replacing pipe for the City of Barre in the 1980s.

Perkins could not recall the name of the pipe he removed but supposedly recalled clearly that the

new pipe he installed was labeled “J-M Transite,” had a waffle print, and was delivered by E.J.

Prescott. Perkins testified that he cut that ACP with a gas powered saw on “[a] lot” of occasions.




                                               - 34 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 35 of 89 PageID #:35




       118.    Perkins was asked if he installed any other type of pipe while working for the City

of Barre. Despite naming CertainTeed in his complaint, Perkins denied being familiar with

CertainTeed or its ACP, or ACP made by other bankrupt ACP manufacturers, such as CAPCO and

Flintkote. By this time, of course, CertainTeed/DBMP had filed bankruptcy.

       119.    On July 15, 2021, the Perkins case was refiled in Vermont state court based on a

jurisdictional defect in Illinois. Since CertainTeed/DBMP had filed bankruptcy, the Vermont

complaint did not name that company.

       120.    On August 24, 2022, Simmons Hanly filed a proof of claim on behalf of Perkins in

the CertainTeed/DBMP bankruptcy. In the proof claim, the Simmons Hanly attorney declared

under the penalty of perjury that the decedent had mesothelioma and had a claim against

CertainTeed/DBMP. In other words, Simmons Hanly asserted in a sworn filing that the decedent’s

mesothelioma was caused in part by CertainTeed, which would have been the result of Perkins’

exposure to asbestos in CertainTeed asbestos-containing products.

       121.    In written and signed discovery responses in Perkins, Simmons Hanly did not

disclose the proof of claim that it had caused to be filed in the CertainTeed/DBMP bankruptcy

case or the attendant claimed exposure to asbestos in CertainTeed asbestos-containing products.

On November 10, 2022, for example, Simmons Hanly responded to requests for production of

documents, interrogatories, and requests for admission on behalf of Perkins. In response to the

requests for admissions, Simmons Hanly, through admissions and denials, claimed that (a) the

only other “claim[s]” filed “with any court or entity other than the instant matter for the injuries

alleged in the Complaint” were the claims contained in the Illinois state court complaint and (b)

there was no claim in any bankruptcy trust related to the alleged injury. The second assertion, at

best, was highly misleading, and the first assertion was just false.




                                                - 35 -
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 36 of 89 PageID #:36




        122.   In response to the interrogatories and document requests, Simmons Hanly

continued its misdirection. In the interrogatories, for example, J-M Manufacturing asked Perkins

to describe all exposures to asbestos-containing products to which the decedent was exposed,

regardless if alleged in the complaint. Simmons Hanly did not identify CertainTeed, despite

having a proof of claim on file based on purported exposure to asbestos in CertainTeed asbestos-

containing products.   Simmons Hanly, instead, referred J-M Manufacturing to the Perkins’

deposition testimony, where Perkins denied exposure to asbestos in CertainTeed asbestos-

containing products. Simmons Hanly also failed to provide information related to the CertainTeed

proof of claim in response to interrogatories that asked Perkins to identify (a) any asbestos

bankruptcy trusts from which Perkins was or may be entitled to receive compensation but had not

yet filed a claim or (b) all claims for payment of any type submitted to any claims processing

entity, trust, bankruptcy trust, or claim facility with respect to the claimed injury. The proof of

claim had to be responsive to one of these interrogatories, and Simmons Hanly failed to disclose

it.

        123.   The discovery responses, which were transmitted by email across state lines,

concealed the proof of claim that Simmons Hanly and Perkins had filed in the CertainTeed/DBMP

bankruptcy. This, in itself, was fraud, which was compounded by the inconsistent positions that

Simmons Hanly and Perkins took in the asbestos litigation and the CertainTeed bankruptcy. Either

Perkins and the decedent were exposed to asbestos in CertainTeed asbestos-containing products

and had a bankruptcy claim against that company’s estate, making the statements in the Vermont

litigation untrue, or Perkins and the decedent were not exposed to asbestos in CertainTeed

asbestos-containing products and the proof of claim was fraudulent.




                                              - 36 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 37 of 89 PageID #:37




       124.    On August 10, 2023, J-M Manufacturing settled the Perkins case. Perry Browder

was the primary Simmons Hanly attorney involved in the settlement. At the time of the settlement,

Simmons Hanly had not disclosed the CertainTeed bankruptcy claim.

               4.      Robert Yates and Maria Yates v. Basco Drywall & Painting Co. et al.

       125.    On May 20, 2019, Simmons Hanly filed the Yates case in California state court,

which ultimately became a wrongful death mesothelioma case.              Crystal Foley, Benjamin

Goldstein, and Deborah Rosenthal were all involved in the case, and both the initial complaint and

the amended complaint – which was filed on June 24, 2020 – were signed by Foley.

       126.    The complaint named 17 entities, including J-M Manufacturing. Simmons Hanly

alleged that Yates was exposed to asbestos while working as a pipe worker from approximately

1998 to 2008 for TT Technologies at “[v]arious locations throughout California.”

       127.    On June 13, 2019, Yates and Simmons Hanly provided a response to the

defendants’ standard interrogatories, which was signed by Foley. In that response, Yates and

Simmons Hanly again claimed that he was exposed to asbestos from ACP while working at TT

Technologies from approximately 1998 to 2008. Specifically, Yates and Simmons Hanly claimed

that Yates “worked throughout the State of California in the pipe bursting field, a process by which

existing underground pipe is burst and new pipe is simultaneously pulled in behind the pipe

bursting tool.” According to the interrogatory response, Yates was responsible for digging an

entry pit and removing the first few feet of existing pipe to place the pipe bursting tool. The

interrogatory response also claimed that Yates worked with and cut various types and brands of

pipe including J-M Transite pipe.      This narrative about exposure was repeated in various

interrogatory responses signed by Foley and served on August 28, 2020 and April 19, 2021.




                                               - 37 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 38 of 89 PageID #:38




       128.    On June 26, 2019, J-M Manufacturing filed a demurrer to plaintiff’s complaint.

The basis for the demurrer was that the complaint did not identify any facts showing that Yates

worked with or around an asbestos-containing product supplied by J-M Manufacturing. J-M

Manufacturing noted that the complaint listed Yates’ work at TT Technologies from 1998 through

2008 as the source of exposure and did not refer to J-M Manufacturing. J-M Manufacturing did

not supply any ACP from 1998 to 2008; the company had stopped supplying ACP a decade earlier.

       129.    Before filing the demurrer, counsel for J-M Manufacturing conferred with

Rosenthal at Simmons Hanly. Rosenthal claimed that the proposed demurrer was a “bad faith

demurrer,” stated that J-M Manufacturing was “needlessly wasting the resources of the court and

of the plaintiffs,” and stated that if the demurrer was filed, she would file for sanctions against J-

M Manufacturing’s lawyer. Rosenthal’s attempt at intimidation was both unwarranted and

unfounded.

       130.    The evidence that came to light in the course of discovery made clear that there was

no basis for Simmons Hanly to claim that Yates was exposed to asbestos in J-M Manufacturing

ACP approximately 10 years after J-M Manufacturing stopped selling that pipe. On May 13, 2021,

J-M Manufacturing deposed the President and CEO of TT Technologies. This witness testified

that the company did not burst any asbestos-containing material, including pipe, and did not let

anyone operate any type of power saw in a pipe bursting line. Nor did the company dig any pits.

The witness also testified that he had no evidence suggesting that Yates ever encountered ACP

while working at TT Technologies. In other words, the witness refuted almost everything that

Simmons Hanly had represented about Yates’ exposure to ACP.

       131.    Product exposure information was not the only untrue information that Simmons

Hanly provided to J-M Manufacturing. On August 28, 2020, Simmons Hanly provided a response




                                                - 38 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 39 of 89 PageID #:39




to interrogatories, which again was signed by Foley. In that response, Simmons Hanly stated that

no autopsy had been performed on Yates after he passed away.

        132.   The interrogatory response related to the autopsy was false.      On or around

September 29, 2021, the defendants obtained records that demonstrated that not only had an

autopsy been performed, Simmons Hanly had paid for it.

        133.   On October 14, 2021, Simmons Hanly dismissed the Yates case, which lent proof

that the case against J-M Manufacturing was baseless. The dismissal request was signed by Foley

on October 12, 2021.

               5.      Bernice Montgomery v. Caterpillar et al.

        134.   On January 11, 2021, Simmons Hanly filed the Montgomery case in California state

court, which was a wrongful death mesothelioma case filed against J-M Manufacturing and a

number of other defendants. Crystal Foley, Benjamin Goldstein, and Nicholas Angelides were all

involved in the case. In the complaint, which was signed by Foley, Simmons Hanley stated that

the decedent had been occupationally exposed to asbestos while working as an operating engineer

from 1968 to 1990 for “various employers” at “various jobsites.”

        135.   On March 12, 2021, Simmons Hanly served a response to interrogatories, which

were signed by Foley. In those interrogatories, Simmons Hanly stated that Montgomery worked

with and cut J-M Manufacturing branded ACP while working for Clark & Jack Lambert, Inc. from

approximately 1968 to 1974 and Camozzi Excavating, Inc. from approximately 1974 to 1980.

These statements could not possibly be true because J-M Manufacturing did not sell ACP until

1983.

        136.   Simmons Hanly also stated that Montgomery worked with and cut J-M

Manufacturing branded ACP while working with a series of construction companies, including




                                             - 39 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 40 of 89 PageID #:40




Burke Construction Co., from approximately 1980 to 1995. Simmons Hanly reinforced these

answers, including the inaccuracies about ACP before 1983, in another response to interrogatories

signed by Foley and served on April 19, 2021.

       137.    On October 5, 2021 and November 10, 2021, Simmons Hanly proceeded with the

deposition of the sole production identification witness in the case – Steve Burke – over the

objection of J-M Manufacturing’s attorneys. At the time, J-M Manufacturing was waiting for

social security records for Montgomery and believed the deposition should not be scheduled until

those were produced. The product identification witness was represented by the firm. The

deposition was conducted over video conference technology and was attended by lawyers in

Illinois and California.

       138.    The product identification witness testified that he worked with Montgomery at

Burke Construction from 1981 to 1987. That witness claimed that Montgomery was exposed to

asbestos contained in “J-M Transite” ACP, which was “[r]ough” and had a honeycomb look, and

the exposure occurred when Montgomery cut the pipe with a power saw. The witness admitted

that he had been provided photos of transite pipe by Simmons Hanly before his deposition.

       139.    J-M Manufacturing obtained Montgomery’s social security records after the

deposition of the product identification witness. Those records showed that Montgomery did not

work at Burke Construction from 1981 to 1987. They showed that Montgomery worked at the

company in 1981 and then again in the 1990s. At a deposition, the president of Burke Construction

confirmed the dates of employment in Montgomery’s social security records. He also testified

that there were no records suggesting that Montgomery ever worked with J-M Manufacturing ACP

while employed at Burke Construction or that Burke Construction ever worked with J-M

Manufacturing ACP for that matter.




                                             - 40 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 41 of 89 PageID #:41




       140.    Despite the information contained in the social security records and the testimony

of the president of Burke Construction, Simmons Hanly persisted in claiming that Montgomery

worked at Burke Construction during the period in which J-M Manufacturing sold ACP. In

responses to interrogatories signed by Foley and served on August 25, 2022, Simmons Hanly listed

Montgomery as working at Burke Construction from 1980 to 1995.

       141.    In the context of the case, J-M Manufacturing also sought discovery around the

Peebles complaint because many of the same lawyers working on Montgomery worked on the

cases described in the Peebles complaint. Simmons Hanly vigorously resisted these discovery

requests, with Deborah Rosenthal claiming in a January 24, 2022 letter that the requests were in

“bad faith” and made with “nefarious intent” and again threatening sanctions.

       142.    After J-M Manufacturing filed a motion for summary judgment, Simmons Hanly

decided to abandon the case, announcing its intention to dismiss it with prejudice.            The

Montgomery case that Simmons Hanly now has dismissed caused J-M Manufacturing to spend a

significant sum of money to defend against the bogus allegations.

       G.      Additional Detail About Simmons Hanly’s Pattern of Racketeering Activity

       143.    The cases described above highlight the elements of the Simmons Hanly Fraud

Playbook. In the context of any one case and in the heat of litigation, the pattern remains hidden

under the veil of aggressive litigation or careless lawyering. But the number of times the elements

of the firm’s scheme have arisen in its cases against J-M Manufacturing, coupled with the Peebles

complaint, demonstrate that the firm has a well-developed plan to extract money from J-M

Manufacturing through a long-running pattern and practice of fraud (i.e., the Simmons Hanly

Fraud Playbook).

       144.    The section shows how pervasive and persistent the different aspects of the scheme

have been in Simmons Hanly’s litigation against J-M Manufacturing, the individual Simmons


                                              - 41 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 42 of 89 PageID #:42




Hanly Defendants’ repeated touch points to the scheme, and why this case is not just about ordinary

litigation but about a pattern of racketeering activity.

               1.      Extensive and Repeated Use of the Simmons Hanly Fraud Playbook

       145.    The cases described in detail above were not isolated incidents. In case after case,

Simmons Hanly has put forward the same “story” and used the same tactics as part of the Simmons

Hanly Fraud Playbook. The pattern described by Peebles in his lawsuit against the firm is

undeniable.

                       a.      Scripted Product Identification Testimony

       146.    In asbestos litigation, the product identification and exposure evidence are the most

important for a case against a defendant. Without evidence connecting the plaintiff or decedent to

an asbestos-containing product of the defendant, there is no case against the defendant.

       147.    Plaintiff’s law firms, like Simmons Hanly, are uniquely positioned to control

product identification and exposure evidence because their client’s testimony is often the primary,

and in many cases the only, evidence that connects the plaintiff or decedent to the asbestos-

containing products of the defendants. This is because of the long-latency period of asbestos-

related disease; the cases focus on events that occurred several decades ago.

       148.    The Baron & Budd Memo recognized the importance of the product identification

and exposure testimony: “How well you know the name of each product and how you were

exposed to it will determine whether the defendant will want to offer you a settlement. If you are

confident and knowledgeable, the manufacturers will be more likely to offer you settlements

because they will feel they cannot win if your case goes to trial in front of a jury.”

       149.    The Baron & Budd Memo set out a list of things that a product identification

witness must be able to do at the deposition, which included the following:




                                                - 42 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 43 of 89 PageID #:43




       150.    The Baron & Budd Memo also stressed that it was important to understand the

appearance of the product and the name that was printed on the product.

       151.    Like the Baron & Budd Memo, Simmons Hanly recognizes the importance of

product identification and exposure evidence. In words similar to the Baron & Budd Memo,

Simmons Hanly recognizes on its website that a defendant’s willingness to settle depends on the

strength of the product identification and exposure evidence:




       152.    The Simmons Hanly case team works with product identification witnesses to

ensure that they offer strong product identification testimony. This includes “refreshing” the

witnesses’ memory either before the deposition or at the deposition with a picture of the product

to facilitate the identification. For example, at the product identification witness depositions in

Bretado (January 9, 2019), Boyance (February 26, 2020), Montgomery (October 5, 2021 &

November 10, 2021), and Azevedo (May 14, 2020), the witness was shown a picture of J-M

Manufacturing’s ACP either at or before the deposition to facilitate the product identification.




                                              - 43 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 44 of 89 PageID #:44




With that picture, the witness could just testify about product characteristics by just looking at the

picture as opposed to having an actual memory of the ACP.

       153.    Of the cases that were part of J-M Manufacturing’s investigation, the product

identification witness provided remarkably consistent identifications of J-M Manufacturing’s

ACP. To distinguish J-M Manufacturing’s ACP from historic Johns-Manville pipe, the witnesses

made sure to emphasize “transite” and “J-M”:

          Bretado                           Carranza                           Perkins
      (January 9, 2019)                   (June 7, 2019)                   (August 19, 2019)

 Q. [W]hat is familiar to         Q. Do you remember what            Q. What do you recall about
 you?                             numbers and letters you saw?       the writing?

 A. The name.                     A. The letters said, “J-M          A. It was in red and it said J-
                                  Transite.”                         M Transite Pipe.
 Q. The name? What – what
 are the letters of the name
 there?

 A. J-M transite pipe

            Swiger                        Montgomery                           Morgan
        (July 17, 2019)                 (October 5, 2021)                    (May 2, 2018)

 Q. Did you see any writing       Q. Was there any writing or        Q. Do you recall who
 or stenciling on the pipe        stenciling on the pipe?            manufactured the asbestos
 itself?”                                                            cement pie?
                                  A. Yes.
 A. “J&M Transite Pipe.”                                             A. CertainTeed and later J-M
                                  Q. Please tell us.                 Transite.
 Q. Anything else on the
 pipe?                            A. “J-M Transite” is what I        Q. Is that J, dash, M
                                  remember.                          Transite?
 A. No. Nothing – I mean, it
 would say J&M and say                                               A. Yes. That’s what was
 Transite several times down                                         stenciled at least on the pipe,
 the pipe.                                                           J-M.




                                                - 44 -
       Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 45 of 89 PageID #:45




           Azevedo                            Boyance                             Noll
         (May 14, 2020)                  (February 26, 2020)                 (April 17, 2013)


 Q. Okay. Now, sir,                 Boyance described                 Q. And with respect to these
 specifically with the transite     photograph as “J-M Transite       jobs for Hallett, what brand
 pipe, do you recall any brand      pipe, Ring-Tite water pipe.”      pipe was used, if you recall?
 name or manufacturer name
 of the pipe?                       Q. Yeah, I was going to ask       A. It was J-M.
                                    you to describe what’s on
 A. J.M.                            there, but more importantly, is   Q. And how do you know
                                    that a familiar name to you       that?
 ...                                and designation?
                                                                      A. It was stamped on the
 Q. So you do you                   A. It is.                         pipe with black ink.
 specifically recall your
 working with J.M. transite                                           Q. Was there anything else
 pipe?                                                                stamped on the pipe?

 A. Yes. Sir.                                                         A. Not to my knowledge.
                                                                      Not that I recall at this time.
 Q. Sir, how is it that you
 recall that it was J.M. transite
 pipe?

 A. It was printed on the
 outside.

 Q. Okay. What was?

 A. J.M.


         154.   The witnesses also had surprisingly clear memories about the color, texture, look,

and characteristics of the ACP:

            Bretado                           Carranza                          Perkins
        (January 9, 2019)                   (June 6, 2019)                  (August 19, 2019)

 Q. Okay. And can you               Q. Do you remember the            Q. Do you recall any
 describe the asbestos cement       diameter of these pipes?          differences in the cement pipe
 pipe? What did it look like,                                         that you were installing and
 the color?                                                           cutting in 1979 than the
                                                                      cement pipe you installed as a



                                                 - 45 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 46 of 89 PageID #:46




A. It looked, like, gray     A.· Thickness, it was 6, 8, 10.· light equipment operator or
color.                       And some of them were 4          heavy equipment operator?
                             inches.
Q. Okay. And how long                                         A. Yes. The latter part of my
was the pipe?                Q. And when you say the          years there, the pipe looked
                             “thickness,” you’re talking      like – between ’83 to ’85 it
A. Ten and other longer than about the diameter or the size looked like a waffle. It
ten.                         of the hole of the pipe          wasn’t a real smooth pipe. It
                                                              was a – like a waffle print
....                         A.· Yes                          around it.
Q. From 1979-1989 what           Q. How long were the pipes        ....
diameter sizes of asbestos       that J-M Transite made?
cement pipe would you                                              Q. What was the color of the
generally use?                   A. 10 feet, more or less          waffle print cement pipe?

A. The most common one           Q. What color was the J-M         A. What was the color of the
was 4 and up, 4, 6, 8, 10, 12.   transite pipe?                    waffle print? The whole pipe
                                                                   was gray.
                                 A. It was like gray.
                                                                   ....
                                 Q. When you carried the pipe,
                                 what did the outside of the       Q. For the waffle print
                                 pipe feel like?                   cement pipe, what was the
                                                                   diameter of the pipe you
                                 A. It’s not smooth. It’s like –   used?
                                 it’s rough
                                                                   A. The diameter of the pipe
                                                                   we used?

                                                                   Q. Yeah, in reference to that
                                                                   waffle print on that pipe.

                                                                   A. Whatever it took for the
                                                                   sewer pipe. 6 to 10 inches.
                                                                   Somewhere between 6 to 10
                                                                   inches.

                                                                   ....

                                                                   Q. What was the length of
                                                                   that pipe?

                                                                   A. 13 feet.




                                              - 46 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 47 of 89 PageID #:47




           Swiger                       Montgomery                        Morgan
       (July 17, 2019)                (October 5, 2021)                 (May 2, 2018)

Q. Describe to me what you      Q. Could you describe what       Q. What color was the J-M
recall – what was the size of   this Transite pipe looked like   Transite pipe?
this Transite pipe? The – the   in the 1980s, from 1981 to
length of the pipe?             1987?                            A. Gray.

A. It was 13-foot sticks. 13    A. It was kind of blue flakey    Q. How long was the J-M
foot joints.                    kind of a honeycomb look.        Transite pipe?

Q. Okay. Diameter, did it      Q. Honeycomb look?                A. Ten feet.
range, or was there only one?
                               A. Uh-huh.                        Q. What was the diameter of
A. No. It would range from                                       the J-M Transite pipe?
4-inch – 4-inch through 12-    Q. When you – when you
inch . . . .                   rubbed your hand across it,       A. On my sites 4 to 6 inches.
                               how did it feel?
Q. What color was the pipe?                                      Q. Was there a design on the
                               A. Rough.                         J-M Transite pipe?
A. It’s kind of a dirty brown.
Most usually a – kind of a –   Q. And how long was it?           A. I remember it being a
between a dirty brown and                                        rough texture. I can’t
an off-white. And it would     A. Typical, 13-foot sections.     remember exact design.
be – depending on what type
of pipe it would be, if it was                                   Q. What did the inside feel
classified as rough barrel, on                                   like?
the outside of it would be
                                                                 A. Smooth.
like a waffle-type pattern and
stuff.

Q. Would this pipe, these
links of pipe, would they all
be 13 feet, or were there
shorter lengths as well?

A. Sometimes there were
shorter lengths.




                                             - 47 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 48 of 89 PageID #:48




         Azevedo                           Boyance                           Noll
       (May 14, 2020)                 (February 26, 2020)               (April 17, 2013)


Q. Okay. Sir, can you          Q. Let’s talk about your work     Q. And do you recall ever
describe the J.M. transite     or working with cement            seeing -- well, can you
pipe?                          asbestos pipe. Can you            describe the pipe for me?
                               describe what the color of the    What did it look like?
A. It is grayish, rough on the pipe is that you recall being
outside, smooth on the         cement asbestos?                  A. It was -- it was gray. It
inside, 6 inch diameter, 13                                      was rough outside and the
feet long.                     A. It was maybe an off white      inside was smooth. It was
                               or sort of a gray.                kind of a grit, you know, the
...                                                              texture on the outside
                               Q. And can you describe the
Q. Sir, do you know what       texture on the outside?           Q. Okay. Did it differ in any
the J.M. transite pipe was to                                    way from what you recall the
be use for in terms of what    A. The texture on the outside     CertainTeed pipe looked like?
was to flow through the        was rough.
pipe?                                                            A. They were close but I
                               Q. And what about on the          think the outside was a little
A. Sewerage.                   inside?                           bit rougher on J-M.

                               A. It was smooth, smooth on       ....
                               the inside.
                                                                 Q. Do you recall what
                               ....                              lengths the pipes came in?

                               Q. Okay. What lengths of          A. 13 feet, around.
                               pipe did they arrive at your
                               jobsite?

                               A. I remember ten footers and
                               thirteen footers.

                               Q. Okay. And what diameter
                               size was the pipe you typically
                               work with?

                               A. The minimum we used for
                               the fire protection that was
                               approved was four inch, and
                               then we would use four, six
                               and eight with the standards.
                               We would get into ten inch.




                                             - 48 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 49 of 89 PageID #:49




        155.   The consistency with which these witnesses testified over many different years in

many different jurisdictions with many different Simmons Hanly lawyers involved yields the

ineluctable inference of a coordinated product identification testimony strategy without regard for

the actual facts of usage or exposure. After all, the testimony of these witnesses is about ACP that

they supposedly encountered 30 to 40 years ago and is nearly uniform. This can only be explained

by what Peebles observed: coached and perjured testimony.

                       b.     Scripted Exposure Story

        156.   The exposure narrative is just as important as the product identification testimony.

As discussed above, Simmons Hanly has developed a “story” about how its asbestos plaintiffs or

the decedents were exposed to the asbestos in J-M Manufacturing’s ACP and the frequency of that

exposure. That story – which involves assertions about cutting or drilling the pipe with power

tools “hundreds” of times – appeared over and over in the cases J-M Manufacturing reviewed:

          Bretado                          Carranza                           Perkins
   (January 9 & 16, 2019)                (June 6, 2019)                   (August 19, 2019)

 Q. Yeah. Can you recall         Q. Can you give us an             Q. Okay. And can you -- you
 and/or estimate how many        estimate of the total number of   mentioned something about
 times a month or week you       times your brother would have     cutting. Would you ever
 worked with asbestos cement     cut J-M transite pipe?            personally have to cut any of
 pipe over that ten years?                                         the new pipe?
                                 A. Yes.
 A. Yes. Yes. I worked –                                           A. Yes.
 we worked all the time doing    Q. How many times?
 line drainage with asbestos                                       Q. Okay. And how did you
 cement pipe.                    A. Hundreds of times.             go about doing that?

 ....                            ....                              A. We had a gas powered
                                                                   saw that would cut pipe.
 Q. What did you use to cut      Q. What tools did you and
 asbestos cement pipe from       your brother use to cut J-M       ....
 1979 to 1989?                   transite pipe?
                                                                   Q. Dennis, do you have an
 A. A whole line chop saw.       A. We would use an electric       estimate as to the number of
                                 saw. No. a gasoline-powered       13-foot lengths J-M transite


                                               - 49 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 50 of 89 PageID #:50




....                            saw. And electrical as well.      pipe sections that you
                                Depending on the thickness.       installed for the City of Barre
Q. Okay. What tool did you                                        between ’83 and ’85?
use to cut the holes, perforate . . . .
the pipe?                                                         A. I’d probably say 3- to 400
                                Q. Okay. Elias, when you and      pieces.
A. I would use the chop saw your brother used the electric
and the drills.                 or the gasoline saw to cut J-M    Q. Can you estimate for me
                                transite pipe, can you describe   the percentage of those 3- to
Q. And drills?                  to us what the working            400 pieces of pipe you had to
                                conditions were like?             cut?
A. Yes, yes, the drills.
                                A. It was – there was a lot of    Q. Can I have the answer,
....                            dust –                            please, Dennis?
Q. What kind of tool did        Q. Could you see –                A. 80 percent.
you use to cut the asbestos
cement pipe for Oakridge?       A. from the pipe. From the
                                pipe that we were cutting.
A. Saws, disk saws.
                                Q. Could you see that dust in
Q. And was that a power         the air?
saw or a handsaw?
                                A. Everybody could see it.
A. Electric. Motor, engine,     Even from far away.
yes.

Q. And was it electric or gas
or something else?

A. Gas.

....

Q. Was the drill also a gas-
powered drill?

A. Drill to make the holes
on the pipes was electric.

           Swiger                      Montgomery                           Morgan
       (July 17, 2019)              (October 5, 2021 &                    (May 2, 2018)
                                    November 10, 2021)

Q. Okay. Now, for the           Q. [Sharing picture] Is this a    Q. During this time period do
fitting purpose, what tool or   true and accurate                 you have a specific
                                representation of the cutting     recollection of the plumbers
                                you saw at the work site


                                             - 50 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 51 of 89 PageID #:51




tools would you use to cut       during the 1980s of the           cutting the asbestos cement
the pipe?                        Transite pipe you described?      pipe?

A. We used what was called       A. Yes, it was also not on the    A. Yes.
a cutoff saw. It’s like a        stand, sometimes it was just
chainsaw, has a circular         on the – it was either cut        Q. Can you please described
blade out on the end of it and   sometimes in the ditch, if that   how the plumbers cut the
you would . . .                  was possible, or it would also    asbestos cement pipe?
                                 be sometimes cut on the spoil.
Q. And do you remember                                             A. They would either use a
the name or manufacturer of      ....                              gas or electric saw and it
the cut-off saw?                                                   created dust?
                                 Q. And you mentioned, when
A. I think it was a Stihl, but   Burke Construction                ...
I’m not really 100 percent       employees would cut transite
sure.                            pipe, they would use a power      Q. Hold up. From 1979
                                 saw –                             through 1985 while working
....                                                               for Spriggs & Company at the
                                 A. Yes.                           two or three projects a year
Q. But let me ask you this.                                        where the asbestos cement
You just – when I asked you      Q. – is that right?               pipe was cut, how many cuts
about just making – I’m –                                          did you observe at each
I’m asking you about a small     A. Yes.                           project?
category – just making cuts
to fit on new pipe between       ....                              A. 20 to 50, depending on
’82 and ’89, you said at least                                     the project.
one cut every time.              Q. When Burke construction
                                 employees would use the
A. Yes, sir.                     power saw to cut transite pipe,
                                 during the 1981 to 1987 time
Q. and you did that at least     period, do you recall seeing
once a week?                     dusty conditions in the air?

A. Most usually, yeah. It        A. Yes.
would average out to like
once a week.

Q. Okay. So with that
knowledge, can you estimate
how many cuts are we
talking about?

A. Throughout the whole
time period, I mean, it would
have been a few hundred.

....



                                              - 51 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 52 of 89 PageID #:52




Q. With regard to that
Transite pipe that you
worked on, I think between
December ’82 until the late
‘80s or early ‘90s, can you
estimate for me how many
times you had to manipulate
that pipe in any way?

A. Altogether, it was
probably thousands.


         Azevedo                           Boyance                            Noll
       (May 14, 2020)                 (February 26, 2020)                (April 17, 2013)


Q. Can you describe the          Q. Let me show you what I        Q. And how did you cut that
cutting tool or tools that you   have marked as Exhibit 6 and     pipe?
used to cut the J.M. transite    if you take a look at it and
sewer pipe?                      then hold it up to the video.    A. We cut it with an electric
                                                                  saw. And there would be
A. Used a saw with a             Q. Is that a familiar            cloud of asbestos dust, you
carborundum blade I think        photograph to you?               know.
they call it.
                                 A. It is.                        ...
Q. Can you describe the
conditions in the air when       Q. And what is it depict –       Q. Right. And while you
you would use a saw with         what does it depict?             were working these jobs,
the carborundum blade to cut                                      these jobs for Hallett, what
through the J.M. transite      A. It depicts a carborundum        did you – what did you use to
sewer pipe?                    cutoff saw cutting the pipe,       cut the pipe?
                               and over here is a rasp for
A. Very thick dust.            machining the end, the end of A. We used electric saw.
                               the pipe.· And this looks like a
...                            lot of dust coming off of the    Q. And when you say
                               blade that's cutting the pipe.   electric saw, is this like a Skil
Q. And, sir, this saw -- how                                    Saw?
is the power?                  ....
                                                                A. Yes.
A. It was -- it was a gas saw. Q.· Over this ten-year period
                               of time that we are talking      ....
....                           about, did -- how many times
                               do you estimate you cut pipe     Q. Okay. Regarding those
Q. Now, sir, on these 5 to 6 with a carborundum saw like        eight projects that you
jobs between ’84 to ’87, did   in Exhibit 6?                    worked with J-M asbestos
                                                                cement pipe with Dennis
                                                                Hallett, on average how many


                                              - 52 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 53 of 89 PageID #:53




 these vary in times of length,   A. Every job, at least for a     cuts would you make during a
 length of time?                  final cut or whatever, every     project installing that pipe?
                                  job would require this to be
 A. Yes, sir. Yes, sir, they      done.                            A. During the whole project?
 did.
                               Q. Well, you said you have          Q. Uh-huh.
 Q. Do you recall the shortest done hundreds of jobs.· Did
 job that you worked with the you do this hundreds of times        A. It would be hundreds.
 J.M. transite sewer pipe?     or is this –
                                                                   Q. Okay. And I’m just
 A. Two weeks.                    A. Hundreds of times.            talking about on one project,
                                                                   how many --
 Q. And, sir, do you recall       ....
 the longest job?                                                  A. Oh, on one project?
                                  Q. Okay.· And how many
 A. Four weeks.                   times in the 1970s·time period   A. Probably 50 or more.
                                  we are talking about did you
 Q. Sir, whether it be a 2        actually rasp and machine the
 week sir or up to a 4 week       ends of cement asbestos pipe?
 job, can you gives us an idea
 without you guessing how         A. Hundreds of times.
 often that you cut and, you
 know, filed the ends of the      ....
 J.M. transite sewer pipe at a
 job?                             Q. Okay. Yeah. Do you have
                                  an estimate of how many
 A. Each day.                     times you worked with cement
                                  asbestos pipe and was labeled
 Q. Okay.                         such as in Exhibit 14?
 A. 10 times.                     A. Hundreds of times.
 Q. That does answer my
 followup question. On an
 average day, is it your
 testimony that you cut and
 rasped and filed the J.M.
 transite sewer pipe 10 times?

 A. Yes.


       157.     Again, the consistency of the narrative across cases lends proof to the allegations

in the Peebles complaint about perjured testimony and the subornment of perjury.




                                               - 53 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 54 of 89 PageID #:54




        158.   At the time of all this supposed cutting and drilling of ACP with power tools, there

were strict workplace regulations that required significant safety precautions related to cutting

ACP.

        159.   Because cutting ACP in the field with power tools was the rare exception rather

than the rule, it is not credible that asbestos plaintiff after asbestos plaintiff represented by

Simmons Hanly did not follow OSHA and other workplace regulations and was exposed to the

asbestos in J-M Manufacturing’s ACP in the exact same way.

        160.   In addition, J-M Manufacturing had express warnings on its ACP that cautioned

not to cut the ACP with a power saw, and the literature that J-M Manufacturing provided with the

ACP contained similar warnings.

                       c.      Scripted Denials about Warning Labels

        161.   Simmons Hanly understands that the warnings on the J-M Manufacturing ACP

could present problems for its cases.

        162.   The Baron & Budd Memo instructed witnesses to “maintain that [they] NEVER

saw any labels on asbestos products that said WARNING or DANGER.”

        163.   The Simmons Hanly plaintiffs routinely testified as if they had received this

instruction as part of their deposition preparation:

            Bretado                         Carranza                        Perkins
       (January 16, 2019)                 (June 6, 2019)                (August 19, 2019)

 Q. Did you ever see the          Q. At any point on the J-M       Q. And I can go ahead and
 word “asbestos” on any—          Transit pipe between 1984 and    read it. Am I correct that
 printed on any asbestos          1989, did you ever see a         Defense Exhibit 3 reads:
 cement pipe?                     warning on the pipe warning      Caution. Do not use power
                                  you of the dangers of            saws to cut this pipe.
 A. I never saw any label of      asbestos?                        Breathing dust created by
 warning that it was                                               improper work practices may
 dangerous.                       A. No. Never.                    cause serious bodily harm.
                                                                   When cutting, machining, or


                                                - 54 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 55 of 89 PageID #:55




....                             Q. Did you ever see a skull     tamping, refer to the
                                 and crossbones?                 recommended work practice
Q. I’m not sure I asked you                                      guide furnished to your
about this during Oakridge.      A. No. If I had seen it, that   employer. Did I read that
During your entire time          means there’s a danger. My      correctly?
when you worked at               brother and I would have
Oakridge, did you ever see       stopped.                        A. Yes.
any warning or labels on any
asbestos cement pipe?                                            Q. Did you ever see this
                                                                 warning on any piece of
A. No.                                                           asbestos cement pipe or
                                                                 cement pipe -- well, strike
                                                                 that. Did you ever see this
                                                                 warning on any piece of J --
                                                                 J-M Manufacturing
                                                                 Company, Inc. asbestos
                                                                 cement pipe?

                                                                 A. No.

                                                                 ....

                                                                 Q. Counsel for J-M showed
                                                                 you a warning that they claim
                                                                 was on that pipe. Just to be
                                                                 clear, you never saw that
                                                                 warning on any piece of
                                                                 transite pipe you ever worked
                                                                 with for the City of Barre, is
                                                                 that correct?

                                                                 A. I never seen that warning
                                                                 on any of the pipe.

           Swiger                           Morgan                         Azevedo
       (July 17, 2019)                    (May 2, 2018)                 (March 3, 2020)

Q. Was there any – to your       Q. Did you ever see any         Q. Was there any warning on
recollection on the pipe, both   warnings about the dangers of   the pipe?
the JM and the CertainTeed,      asbestos on the CertainTeed
were there ever any warnings     pipe?                           A. No.
on that pipe?
                                 A. No.
A. Not that I remember, no.
It was just the – the wording,   Q. Did you ever see any
the “Transite,” the “JM          warnings about the dangers of
Transite Pipe” and


                                              - 55 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 56 of 89 PageID #:56




“CertainTeed.” I never seen     asbestos on the J-M Transite
no warnings or anything on      pipe?
there.
                                A. No.

                                Q. Did you ever receive any
                                warnings about the dangers of
                                asbestos from the J-M
                                employees?

                                A. No.


         Boyance                            Noll
    (February 26, 2020)                (April 17, 2013)


Q. Did any distributor that     Q. Do you recall ever seeing
you mentioned of cements        any warnings on the pipe?
asbestos pipe ever warn you
that the dust was potentially   A. I don’t recall seeing
hazardous to your health?       warnings.

A. Definitely not. I
wouldn’t have ordered it or I
wouldn’t have installed it or
I wouldn’t have machined it.
I wouldn’t have had anybody
working for me either.

....

Q. Did any distributor or
manufacturer of J-M Transite
pipe ever warn you in
writing or --

A. Never warned.

Q. -- about the potential
health hazards of working
with it?

A. That’s correct. Never.




                                             - 56 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 57 of 89 PageID #:57




                       d.      Vague and Deceptive Testimony and Discovery Responses to
                               Avoid Discovery That Might Frustrate the “Story”

         164.   Another common pattern in Simmons Hanly cases is for the product identification

and exposure witnesses represented by the firm to provide vague or incorrect details about

employers, job locations, and co-workers. This makes it difficult, if not impossible, for J-M

Manufacturing to affirmatively disprove Simmons Hanly’s narrative. At the very least, J-M

Manufacturing ordinarily has to hire an investigator to look into the asbestos plaintiff or decedent’s

work history. This also creates a question of fact that is unlikely to be resolved on summary

judgment, exposing J-M Manufacturing to the costs and hazards of continued litigation

         165.   On a number of occasions, J-M Manufacturing has discovered that the information

provided by Simmons Hanly and the Simmons Hanly represented witness was fabricated. This

was true in at least Bretado, Carranza, Yates, and Montgomery.

         166.   Regardless of the case, however, the Simmons Hanly product identification and

exposure witness has testified in ways designed to make it extremely difficult to test the narrative

that the firm has crafted and laid out in discovery:

             Bretado                        Carranza                           Perkins
        (January 16, 2019)               (June 6-7, 2019)                  (August 19, 2019)

 Q. [D]o you recall any           Q. The construction work you       Q. Do you recall any of the
 locations at which you did       and your brother performed         addresses where any of the
 any landscaping work,            together; was that residential,    waffle print cement pipe was
 whether by address or the        commercial, or industrial          installed during your tenure at
 major cross – cross streets or   construction work?                 the City of Barre?
 anything like that that we
 could identify where the job     A. It’s industrial,                A. I don’t remember.
 was?                             commercial.· Everything. And
                                  residences too.                    Q. Do you recall any specific
 A. No, I don’t remember.                                            landmarks or locations that
                                  ....                               would help pinpoint where
 ....                                                                the work took place?
                                  Q.· Do you remember
                                  beginning in 1984 or ’85 who


                                                - 57 -
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 58 of 89 PageID #:58




Q. Okay. Do you know the        you and your brother worked     A. No.
addresses of any of the         for?
locations where you did
drainage work for Oakridge?     A.· We made friends with
                                some men.· They were
A. No, I don’t remember.        Americans.· Gringos.· And
                                they gave us a chance to work
....                            with them.· And then they
                                themselves would refer us to
Q. All right. Can you recall    other people.· The name of
any locations at which you      one of those guys is
did drainage work for Dean      Gregorio.· And Rogelio.
Hensley?
                                Q. And is the American
A. No, honestly, no.            version of that name Greg and
                                Roger?
...
                                A. Yes.
Q. Do you recall the names
of any of the private owners    Q.· Were Greg and Roger
that you did this drainage      partners?
work for?
                                A. Yes.· Yes.
A. No.
                                Q. Do you remember their
Q. Do you recall the names      last names?
of any contractors or parties
that may have hired Hensley     A. I never knew their last
to do the drainage work?        names.· They always paid us
                                cash.
A. No, I don’t remember.
                                ....
....
                              Q. Can you give us an
Q. Do you recall any names estimate of the total number of
of any coworkers by first and jobs that you and your brother
last name at Hensley?         worked on between 1984 and
                              1989 where you used J-M
A. Names that – the names I transite pipe?
remember, but not the last
names –                       A. Hundreds
....                            A. Hundreds of places we
                                used it.
Q. Do you recall any
locations at which you          ....
worked for Mr. Tatoshician?




                                            - 58 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 59 of 89 PageID #:59




A. No, I don’t remember.      Q. Where did you go?

Q. Do you know any of the     A. To work at a construction.
names of any contractors or
landowners who may have       Q. Where?
hired Bob Tatoshician to do
the drainage work?            A. They’re in Orange.

A. No, I don’t remember.      Q. Where in Orange?

                              A. I had gotten there just that
                              weekend. I didn't even know
                              when the sun came up.

                              Q. Well, as you lived there,
                              you got to know the city.·
                              Looking back on that time,
                              where did you go?

                              A. I don't even know where it
                              was they took me.

                              ....

                              Q. Okay. Did you ever, after
                              June of ’84, install pipe for
                              anyone other than Roger and
                              Greg?

                              A. Yes.

                              Q. Who?

                              A. Hundreds of persons.

                              ....

                              Q. Are there any other sites
                              you can recall by street names
                              or addresses where you know
                              you worked with J-M transite?

                              A. Hundreds. Hundreds of
                              them.

                              Q. Is there any others by
                              address or street name that
                              come to mind right now?



                                           - 59 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 60 of 89 PageID #:60




                                A. We used to use just as
                                much of J-M and then also the
                                CertainTeed.

                                Q. Okay.

                                A. It would be difficult to tell
                                you so many, so many, so
                                many.

           Swiger                        Morgan                             Azevedo
       (July 17, 2019)                 (May 16, 2018)                     (May 14, 2020)

Q. Okay. If I asked you for     Q. Okay. Are you able to           Q. Okay. Do you recall
specific dates and times of     identify any of the names of       where you worked with J.M.
every day that you worked       any customers or premises for      transite pipe?
on that pipe, would you be      whom Bill Spriggs did any
able to give that to me?        construction work for during       A. Polaroid and others.
                                the ’79 to ’85 time period?
A. No, sir. Not specific                                           Q. Do you recall which
dates and times. I mean, just   A. I can’t remember at this        Polaroid?
a basic recollection.           time.
                                                                   A. No, sir. I do not.
....                          Q. Can you identify for us
                              any location by address,
Q. But is there any more      landmark, or other identifying
detail in regards to the      feature that might help us
location on the line of each  figure out what specific
specific weekly job over nine locations you worked at for
years that you could          Spriggs?
provide?
                              A. I cannot --
A. No. Just basically ran
from outside of Clarksburg
to Smithfield on that 47-mile
line. Somewhere –
somewhere on that 47 mile
line.


          Boyance                           Noll                          Montgomery
       (March 5, 2020)                 (April 17, 2013)                 (October 5, 2021)


Q. And do you know of any       Q. Okay. And what’s the next       Q. Do you know or have any
documents that you could        job you worked for him on?         information about any
provide me that would                                              jobsites by name or


                                             - 60 -
      Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 61 of 89 PageID #:61




provide any additional            A. We did a lot of jobs, you      description or location that
information about your            know, so I don't recall at this   [Mr. Montgomery] worked at
alleged work with a J-M           time.                             while an employee of Burke
·Manufacturing product?                                             Construction?
                                  Q. Okay. When was the next
A. No. I didn’t keep              job that you worked on with       A. No. Personally, I don’t.
anything over seven years.        him that involved AC pipe?

...                               A. It’s the same answer. I
                                  don’t recall at this time.
Q. And do you know of any
witnesses, other than your        Q. Okay. When was the last
two brothers that you’ve          time you worked on an AC
identified, that I can speak to   pipe job for Hallett?
about your alleged work with
a J-M Manufacturing               A. It’s the same. I don’t
product?                          recall.

A. I don’t know of anybody        Q. You just don’t recall?
else.
                                  A. I don’t recall at this time.
Q. And I couldn’t find this,
and maybe it’s -- it was in       ...
the record, and I apologize if
it was asked. Are you ever        Q. Is Hallett still alive?
able to estimate the number
                                  A. I don’t know that either.
of times or job sites that you
believe you worked with a         Q. Okay. Do you know any --
J-M Manufacturing product?        the names of anyone that you
                                  worked with at Hallett who
A. I don’t.· I don’t recall.
                                  were still living?

                                  A. No, I don’t.

                                  ....

                                  Q. Forgive me if I asked this
                                  already. Anyone that you
                                  worked with for Hallett that
                                  you know is still living?

                                  A. I don’t recall their names.




                                                - 61 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 62 of 89 PageID #:62




                       e.      Suppression of Evidence to Asbestos-Containing Products of
                               Bankrupt Companies

       167.    Another component of the Simmons Hanly scheme is to conceal evidence of

exposure to asbestos-containing products of bankrupt companies. In at least one case (Perkins),

Simmons Hanly failed to disclose a proof of claim that it filed in a bankruptcy of another ACP

company. J-M Manufacturing suspects that this will be true in other cases but does not have access

to that evidence because the identity of bankruptcy trust claimants is typically confidential unless

the bankruptcy trust claimant consents or the bankruptcy trust receives a subpoena. Put differently,

this information is uniquely in the custody and control of the Simmons Hanly Defendants, and J-M

Manufacturing expects to obtain additional evidence of the Simmons Hanly Defendants’ fraud

related to bankruptcy trust claims in the course of discovery in this action.

       168.    Simmons Hanly cases also rarely contain any information about exposure to

asbestos-containing products of bankrupt companies. The absence of details about exposure to

friable asbestos products, which were manufactured by now-bankrupt companies, as a contributing

cause to the Simmons Hanly plaintiff or decedent’s asbestos-related disease defies logic. Based

on information and belief, the Simmons Hanly Defendants keep that information concealed to

maximize recovery against solvent defendants like J-M Manufacturing.

                       f.      Over-Naming and Filing Baseless Claims in Plaintiff-Friendly
                               Jurisdictions to Extract Settlements

       169.    Simmons Hanly boasts on its website that the typical asbestos lawsuit now names

nearly 70 solvent defendants. In the lawsuits that the firm has filed against J-M Manufacturing,

Simmons Hanly routinely has named more than 20 defendants. The reason that Simmons Hanly

casts a wide net is to maximize its potential recovery. Based on both information and belief and

J-M Manufacturing’s experience in litigation against the firm, the lawsuits name any solvent entity




                                               - 62 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 63 of 89 PageID #:63




even marginally relevant to the asbestos plaintiff or decedent’s work history regardless of whether

the firm has evidence of any exposure to those entities’ asbestos-containing products.

       170.    In the litigation that Simmons Hanly has filed against J-M Manufacturing, the firm

has routinely named J-M Manufacturing in lawsuits that it knows are baseless for settlement

leverage. The strategy is simple: name J-M Manufacturing in every possible lawsuit that could be

potentially relevant to the company’s ACP, file that lawsuit in a plaintiff-friendly state court, and

rely on the sympathetic nature of its clients to exert as much settlement pressure as possible. With

these baseless lawsuits, the firm (a) attempts to force J-M Manufacturing into a settlement to avoid

the risk of an adverse verdict in a jurisdiction in which it knows the company will be treated

unfavorably or (b) uses these lawsuits as bargaining chips as part of global settlements.

       171.    Since 2019, Simmons Hanly has voluntarily dismissed more than 60 of these sham

lawsuits. This includes instances in which the firm agreed to voluntarily dismiss lawsuits to entice

J-M Manufacturing to settle other Simmons Hanly lawsuits against the company. The willingness

of the firm to so easily dismiss lawsuits highlights the firm’s misconduct.

                       g.      Actions to Silence People and Activity That Might Expose the
                               Scheme

       172.    An additional aspect of the firm’s scheme is to ensure that the scheme is not

exposed. Peebles threatened to blow the top off of and expose the Simmons Hanly Fraud Playbook

after he was instructed to engage in the scheme as an attorney in the firm’s Asbestos Department.

       173.    Goldstein did everything he could to keep Peebles quiet. According to the Peebles

complaint, Goldstein “instructed” Peebles not to inform certain members of Simmons Hanly upper

management about the Simmons Hanly Fraud Playbook. When Peebles refused, Peebles alleges

that Goldstein retaliated against him “by falsely characterizing him as insubordinate and calling

his ‘judgment’ into question to senior members of the firm.”



                                               - 63 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 64 of 89 PageID #:64




       174.      Peebles attempted to turn to Amy Garrett to address the retaliation, informing her

about the unlawful conduct and the retaliation. Shortly after that meeting, Garrett and another

member of Simmons Hanly’s upper management in Illinois flew to San Francisco and fired

Peebles without explanation. After the termination, the firm withheld wages from Peebles

“seeking to extort a release of claims . . . and a confidentiality agreement, designed to conceal and

keep secret the unlawful and unethical conduct.” This is when Peebles filed his complaint.

       175.      The Peebles lawsuit was heavily litigated by Simmons Hanly, filing a demurrer, a

cross-complaint, and a motion for a preliminary injunction. In connection with filings in the

lawsuit, Peebles added additional detail around what he had discovered. According to Peebles,

the firm had engaged in “the intentional suppression” and “falsification of evidence.” Peebles

stated in the lawsuit that the evidence that he uncovered was of “conduct that not only affects

himself, his client, and [Simmons Hanly], but conduct that indicates a larger pattern and practice

that could affect thousands of [Simmons Hanly] clients.” That “unlawful and unethical conduct,”

according to Peebles, was of an “offensive and shocking nature.”

       176.      The firm’s fight against Peebles, which was led by a team that consisted of lawyers

in Chicago, and its efforts to keep Peebles silent about the details of his complaint, and ultimately,

the Simmons Hanly Fraud Playbook, came to an end when the firm settled with Peebles and

imposed a confidentiality obligation on him.

       177.      Sometime in or after October 2021, J-M Manufacturing learned about the Peebles

complaint, after the matter had been settled and the case had been dismissed. Knowing that Peebles

had worked on Simmons Hanly matters against J-M Manufacturing, the company sought the case

number of the primary underling lawsuit reference in the complaint and an unredacted version of

the complaint.




                                                - 64 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 65 of 89 PageID #:65




       178.    Almost immediately from learning of the complaint, J-M Manufacturing filed an

ex parte application to unseal the complaint and track down the case number of the underlying

lawsuit discussed in it. Simons Hanly fought every effort by J-M Manufacturing to discovery

information about the facts underlying the Peebles complaint in an attempt to try to keep the details

of the firm’s “unlawful, unethical, and fraudulent conduct” quiet, including opposing the

application to unseal.

       179.    The court granted J-M Manufacturing’s application in part, unsealing the case

number, which is how J-M Manufacturing confirmed the primary underlying asbestos lawsuit

discussed in the Peebles complaint is Bretado. The court denied the company’s request to unseal

the complaint itself, however, reasoning that the complaint had not been sealed when filed but

rather was filed in redacted form. This meant the court did not have an unredacted version of the

Peebles complaint in its case docket that it could unseal. That decision was affirmed by the Court

of Appeals in California in October 2023, in an appeal that also was resisted by Simmons Hanly.

       180.    Concerned that the misconduct alleged by Peebles might extend to other Simmons

Hanly cases against the company, J-M Manufacturing also sought an unredacted version of the

complaint as part of discovery in certain underlying asbestos lawsuits, in particular in Montgomery.

Simmons Hanly resisted that effort too, with Deborah Rosenthal opposing a motion to compel.

       181.    The court in Montgomery denied the motion to compel based on a finding that the

complaint was not directly relevant to the Montgomery lawsuit. But in doing so, the court noted

that “[t]his is a very serious matter” and stated that it “hop[ed]” that Simmons Hanly had “retained

counsel” because the court’s ruling “does nothing to get [the] firm passed a very, very serious

allegation being made against it.”




                                               - 65 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 66 of 89 PageID #:66




               2.       Additional Allegations About Each Individual Defendant’s Specific
                        Involvement in the Racketeering Activity

       182.    The preceding paragraphs in the complaint highlight each Defendant’s involvement

in the RICO enterprise and development and deployment of the Simmons Hanly Fraud Playbook.

This section adds additional detail that illustrates why each individual Defendant has been named

in this complaint.

       183.    The first individual named as a Defendant in the complaint is Nicholas Angelides.

Angelides is a defendant because he is the brainchild of “the legal strategy” – the Simmons Hanly

Fraud Playbook – that forms the basis of the Simmons Hanly fraud scheme and is the Chair of the

Asbestos department. Angelides is fairly viewed as the head of the RICO enterprise.

       184.    Angelides was on the case team in a number of the sample fraud cases discussed in

this complaint, including Bretado – the primary asbestos lawsuit underlying the Peebles complaint

– and Montgomery. In those cases, Angelides is listed as one of the lawyers responsible for the

complaints and discovery responses that contained fraudulent information that were sent by

interstate wire or mail. In other words, Angelides was directly involved in predicate acts. Based

on information and belief, Angelides and/or Browder were also involved in the termination of

Peebles following his reports of unlawful and unethical conduct in the Asbestos Department.

       185.    Put simply, Angelides not only knew about, agreed to participate in, and

participated in the fraud scheme, he was in whole or in part responsible for developing the

Simmons Hanly Fraud Playbook. Additional evidence of the involvement of Angelides in the

fraudulent scheme is in the exclusive knowledge or control of the Defendants and will be revealed

as part of discovery.

       186.    The second individual named as a Defendant in the complaint is Perry Browder.

Browder is a defendant because he “manages the firm’s more than 50 asbestos attorneys” and



                                             - 66 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 67 of 89 PageID #:67




“oversees all asbestos cases to ensure they are handled in an efficient manner that maximizes

results.” Browder is effectively Angelides’ deputy and a leader within the RICO enterprise,

running the day-to-day operations of the enterprise and overseeing its most lucrative rackets.

       187.    Browder’s primary involvement with the RICO enterprise relates to case settlement

and asbestos trust claims. Browder ensures that the Simmons Hanly Defendants cash-in on their

scheme. For example, Browder was involved in, signed, and transmitted paperwork related to the

settlements in Bretado and Perkins. Browder sent many emails and letters in interstate commerce

in furtherance of the scheme to extract money from J-M Manufacturing through settlement.

Browder also was involved in the decisions about and filings of bankruptcy trust claims in Perkins

and Swiger. And based on information and belief, Browder is involved in the decision making

related to sham or meritless cases that are filed against J-M Manufacturing and used as bargaining

chips to encourage settlement of other Simmons Hanly asbestos cases.

       188.    Based on information and belief and as stated above, Angelides and/or Browder

were involved in the termination of Peebles following his reports of unlawful and unethical

conduct in the Asbestos Department. Additional evidence of the involvement of Browder in the

fraudulent scheme is in the exclusive knowledge or control of the Defendants and will be revealed

as part of discovery.

       189.    The third individual named as a Defendant in this complaint is Amy Garrett.

Garrett is the Assistant Managing Partner of the firm and part of the firm’s Asbestos Department.

Garrett has knowledge of the Simmons Hanly Fraud Playbook, agreed to participate in the scheme

using that playbook, and acted to ensure that the scheme was not exposed. Garrett is crucial to the

operation of the RICO enterprise, acting as an advisor and serving as the right-hand person to

resolve issues and threats to the success and continued operation of the enterprise.




                                               - 67 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 68 of 89 PageID #:68




       190.    Garrett is identified in the Peebles complaint as the member of Simmons Hanly

“upper management” to whom Peebles reported the unethical and unlawful conduct that was

occurring in the Asbestos Department. After receiving this information, Garrett took part in the

effort to silence Peebles, including participating in the termination of Peebles. Garrett also was

one of the firm’s leaders in responding to Peebles’ lawsuit and preventing it from moving forward

to avoid exposure of the Simmons Hanly Fraud Playbook. Garrett, for instance, executed

declarations that were transmitted across interstate lines and filed with courts on February 23,

2021, April 23, 2021, June 9, 2021, in support of the firm’s motion for injunction, cross-complaint,

and motion to stay. Additional evidence of the involvement of Garrett in the fraudulent scheme is

in the exclusive knowledge or control of the Defendants and will be revealed as part of discovery.

       191.    The fourth individual named as a Defendant in the complaint is Benjamin

Goldstein. Goldstein serves as the firm’s West Coast Asbestos Litigation Manager. He is in charge

of the firm’s West Coast asbestos litigators to ensure these litigators do not upset the operation of

the Simmons Hanly Fraud Playbook.

       192.    Goldstein supervised Peebles when Peebles worked at the firm and is identified in

the Peebles complaint as ROE 1.          Goldstein was involved in Bretado, Carranza, Yates,

Montgomery, and Morgan, and specifically was targeted by the Peebles complaint as knowing

about, directing, and taking part in the “unlawful, unethical, and fraudulent” conduct that forms

the basis of the Simmons Hanly fraud scheme. Goldstein is listed as one of the lawyers responsible

for the complaints and discovery responses that contained fraudulent information and that were

sent by interstate wire or mail. In addition to these predicate acts, Goldstein took part in the

retaliatory conduct described in the Peebles complaint when Peebles sought to reveal the Simmons

Hanly Fraud Playbook and expose the scheme. Additional evidence of the involvement of




                                               - 68 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 69 of 89 PageID #:69




Goldstein in the fraudulent scheme is in the exclusive knowledge or control of the Defendants and

will be revealed as part of discovery.

       193.    The fifth, sixth, and seventh individuals named as Defendants in the complaint are

Suvir Dhar, Crystal Foley, and Deborah Rosenthal. These individuals were responsible for

implementing the plays in the Simmons Hanly Fraud Playbook on a day-by-day basis.

       194.    Their involvement in the scheme includes soliciting perjured testimony (Dhar in

Carranza); preparing, filing, and serving complaints that contained made-up information about

product exposure or other falsities (Bretado, Carranza, Yates, and Montgomery), preparing and

signing written discovery responses containing fraudulent information (same cases), and sending

threatening letters and emails to facilitate or hide the scheme (Rosenthal in Yates and

Montgomery). These individuals have the most direct involvement in countless predicate acts over

the years in furtherance of the scheme. Additional evidence of the involvement of Dhar, Foley,

and Rosenthal in the fraudulent scheme is in the exclusive knowledge or control of the Defendants

and will be revealed as part of discovery.

       195.    The last individual specifically named as a Defendant in this case is Stan Jones.

Based on information and belief, Jones helped manufacture the testimony and “evidence” used in

the sham asbestos lawsuit underlying the Peebles complaint and assisted in the coaching of

Simmons Hanly represented witnesses both before and during key depositions.

       196.    Jones was the first person that Peebles sought to depose to prove his allegations

against the firm. Jones “assisted” the product identification witness in that lawsuit and Carranza

deliver false and coached testimony to further the firm’s “story.” Additional evidence of the

involvement of Jones in the fraudulent scheme is in the exclusive knowledge or control of the

Defendants and will be revealed as part of discovery.




                                              - 69 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 70 of 89 PageID #:70




               3.      Specifics About Predicate Acts of Mail and Wire Fraud and
                       Obstruction of Justice

       197.    The pattern of racketeering described in this complaint has been a long-running

scheme of the Simmons Hanly Defendants. The scheme is nationwide in scope. The firm is

headquartered in Illinois and has offices in California, Missouri, Massachusetts, and New York.

J-M Manufacturing is based in Los Angeles, California and has been one of the primary targets of

the scheme in lawsuits all over the country.            Other company targets of the scheme are

headquartered throughout the country, including in the Northern District of Illinois.

       198.    The scheme has included thousands of predicate acts over the course of several

years, many of which are described in the preceding paragraphs. The implementation of the

Simmons Hanly Fraud Playbook reasonably contemplated and depended on ubiquitous use of

interstate mail and wires, including emails, video conferencing technology, telephone, electronic

filing systems for filing of court documents and bankruptcy claims over the internet, electronic

service systems that transmitted discovery and court filings over the internet, and interstate mail

and wires to transmit settlement payments, satisfy judgments, and otherwise further the scheme.

       199.    The primary predicate acts that form the basis of the pattern of racketeering activity

are instances of mail and wire fraud. In this complaint, J-M Manufacturing focuses on instances

of mail and wire fraud that primarily took place from 2019 to present in furtherance of the

Simmons Hanly fraud scheme. But the predicate acts that were part of the Simmons Hanly Fraud

Playbook date back to before 2019.

       200.    J-M Manufacturing does not have access to all of the evidence showing how the

Simmons Hanly Fraud Playbook was actualized but can identify specific mails and wires that were

part of the scheme to demonstrate the frequency and long-running duration of predicate acts. This

is not an exhaustive list of predicate acts, but provides examples of predicate acts currently known.



                                               - 70 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 71 of 89 PageID #:71




The cases and other details of the fraud scheme discussed above are more than sufficient to

establish the RICO enterprise, its goals and members, and how it worked, involving thousands of

intestate mails and wires sent by the Simmons Hanly Defendants in furtherance of the scheme.

The Simmons Hanly Defendants are in the exclusive possession or have exclusive knowledge of

many interstate mails and wires – such as between firm attorneys and staff, between firm attorneys

and clients, and between firm attorneys or staff and firm agents or local counsel – that were part

of the scheme. Discovery will reveal these additional predicate acts.

       201.    The following are examples of certain interstate mails and wires sent as part of the

scheme that contained fraudulent information:

    Specific Date                   Mail or Wire                    Fraudulent Information

  October 15, 2018     Transmittal of Bretado complaint          False exposure information
                       signed by Foley (and listing Angelides
                       as an attorney of record) for filing in
                       Superior Court in Los Angeles
                       Foley based in Illinois and sent
                       complaint from Illinois to California
                       by wire

 November 7, 2018      Transmittal of Carranza complaint         False work history about work
                       signed by Foley for filing in Superior    for Indelcor and false exposure
                       Court in Los Angeles                      information
                       Foley and Dhar based in Illinois and
                       sent complaint from Illinois to
                       California by wire and filed by fax

  January 16, 2019     In-Person and telephonic deposition       Perjured/false testimony about
                       with Simmons Hanly presenting             exposure to asbestos-
                       Bretado for deposition                    containing products
                       Transmitted by telephone from
                       California to Texas

  January 17, 2019     In-Person and telephonic deposition       Perjured/false testimony about
                       with Simmons Hanly presenting             exposure to asbestos-
                       Bretado for deposition                    containing products



                                              - 71 -
 Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 72 of 89 PageID #:72




                   Transmitted by telephone from
                   California to Texas

January 18, 2019   In-Person and telephonic deposition       Perjured/false testimony about
                   with Simmons Hanly presenting             exposure to asbestos-
                   Bretado for deposition                    containing products
                   Transmitted by telephone from
                   California to Wisconsin

January 31, 2019   Two sets of interrogatory responses       False exposure information
                   prepared and signed by Foley (and
                   listing Angelides as an attorney of
                   record) in Bretado
                   Transmitted from Illinois to California
                   by wire for service

 April 8, 2019     Interrogatory responses prepared and      False exposure information
                   signed by Foley in Carranza
                   Transmitted from Illinois to California
                   by wire for service

 May 20, 2019      Transmittal of Yates complaint signed     False exposure information
                   by Foley (and listing Rosenthal and
                   Goldstein as attorneys of record) for
                   filing in Superior Court in Alameda
                   Foley based in Illinois and sent
                   complaint from Illinois to California
                   by wire

 June 13, 2019     Interrogatory responses prepared and      False exposure information
                   signed by Foley (and listing Rosenthal
                   and Goldstein as attorneys of record)
                   in Yates
                   Transmitted from Illinois to California
                   by wire for service

 June 14, 2019     Interrogatory responses prepared and      False exposure information
                   signed by Foley (and listing Angelides
                   as an attorney of record) in Bretado
                   Transmitted from Illinois to California
                   by wire for service




                                         - 72 -
   Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 73 of 89 PageID #:73




  June 19, 2019     Two sets of interrogatory responses       False exposure information
                    prepared and signed by Foley in
                    Carranza
                    Transmitted from Illinois to California
                    by wire for service

November 18, 2019 E-Filing and service of complaint by        Inaccurate information re
                  Simmons Hanly in Perkins                    CertainTeed if deposition
                                                              testimony accurate
                    E-service from Illinois to Missouri

November 21, 2019 Interrogatory responses prepared and        False exposure information
                  signed by Foley in Carranza
                    Transmitted from Illinois to California
                    by wire for service

 February 5, 2020   Interrogatory responses prepared and      False exposure information
                    signed by Foley in Carranza
                    Transmitted from Illinois to California
                    by wire for service

  June 24, 2020     Transmittal of Yates first amended        False exposure information
                    complaint signed by Foley (and listing
                    Rosenthal and Goldstein as attorneys
                    of record) for filing in Superior Court
                    in Alameda
                    Foley based in Illinois and sent
                    complaint from Illinois to California
                    by wire

 August 11, 2020    Transmittal of Bretado first amended      False exposure information
                    complaint signed by Foley (and listing
                    Goldstein and Angelides as attorneys
                    of record) for filing in Superior Court
                    in Los Angeles
                    Foley based in Illinois and sent
                    complaint from Illinois to California
                    by wire

 August 19, 2020    Multi-platform video deposition of        Inaccurate information re
                    Perkins with Simmons Hanly                CertainTeed if Illinois
                    presenting Perkins                        complaint and proof of claim
                                                              accurate




                                          - 73 -
 Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 74 of 89 PageID #:74




                   Perkins located in North Carolina and
                   lawyers located in Illinois (including
                   Chicago)

August 28, 2020    Interrogatory responses prepared and      False exposure information
                   signed by Foley (and listing Rosenthal    False information about
                   and Goldstein as attorneys of record)     autopsy
                   in Yates
                   Transmitted from Illinois to California
                   by wire for service

January 11, 2021   Transmittal of Montgomery complaint       False exposure information
                   signed by Foley (and listing Goldstein
                   and Angelides as attorneys of record)
                   for filing in Superior Court in Los
                   Angeles
                   Foley based in Illinois and sent
                   complaint from Illinois to California
                   by wire

March 12, 2021     Interrogatory responses prepared and      False exposure and work
                   signed by Foley (and listing Rosenthal    history information
                   and Goldstein as attorneys of record)
                   in Montgomery
                   Transmitted from Illinois to California
                   by wire for service

 April 19, 2021    Interrogatory responses prepared and      False exposure and work
                   signed by Foley (and listing Rosenthal    history information
                   and Goldstein as attorneys of record)
                   in Montgomery
                   Transmitted from Illinois to California
                   by wire for service

 April 19, 2021    Twos sets of interrogatory responses      False exposure information
                   prepared and signed by Foley (and
                   listing Rosenthal and Goldstein as
                   attorneys of record) in Yates
                   Transmitted from Illinois to California
                   by wire for service

October 5, 2021    Virtual deposition of Steve Burke with False exposure and work
                   Simmons Hanly presenting Steve         history information
                   Burke



                                         - 74 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 75 of 89 PageID #:75




                      Participants in Illinois and California

 November 5, 2021     Virtual deposition of Steve Burke with False exposure and work
                      Simmons Hanly presenting Steve         history information
                      Burke
                      Participants in Illinois and California

  August 24, 2022     Proof of claim related to CertainTeed     Inaccurate information re
                      filed by Simmons Hanly on behalf of       CertainTeed if deposition and
                      Perkins and transmitted by wire from      written discovery accurate
                      Illinois to Oregon

  August 25, 2022     Interrogatory responses prepared and      False exposure and work
                      signed by Foley (and listing Goldstein    history information
                      and Angelides as attorneys of record)
                      in Montgomery
                      Transmitted from Illinois to California
                      by wire for service

 November 10, 2022 Interrogatory responses, responses to        Concealing proof of claim
                   requests for admission, and responses        Inaccurate exposure
                   to document requests prepared and            information re CertainTeed if
                   signed by Simmons Hanly in Perkins           Illinois complaint and proof of
                      Transmitted from Illinois to Vermont      claim accurate

       202.   The fraudulent scheme also included many other interstate mailings and wires that

were in furtherance of the scheme. The following are some examples:

        Example Mails and Wires for Settlements and Dismissal Related to Scheme

    Specific Date                                     Mail or Wire

   August 22, 2019     Letter from Browder (IL) to J-M Manufacturing lawyer (LA) sent by
                       UPS with settlement paperwork and requesting stipulation of dismissal
                       paperwork related to Bretado

   March 27, 2020      Signed request for dismissal with prejudice transmitted by wire from
                       Foley (IL) to J-M Manufacturing lawyer (CA) for dismissal of
                       Carranza

  October 12, 2021     Signed request for dismissal transmitted by wire from Foley (IL) to J-
                       M Manufacturing lawyer (CA) for dismissal of Yates




                                             - 75 -
  Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 76 of 89 PageID #:76




September 28, 2022    Letter from Browder (IL) to J-M Manufacturing lawyer (LA) sent by
                      UPS and email with settlement paperwork and requesting stipulation of
                      dismissal paperwork related to Boyance

 January 16, 2023     Interstate call between Simmons Hanly and J-M Manufacturing lawyer
                      (MA) re dismissal with prejudice of Montgomery

 January 27, 2023     Email re dismissals and settlement from Goldstein (CA) to J-M
                      Manufacturing lawyers (MA and CA) including related to Azevedo and
                      Perkins

 August 28, 2023      Letter from Browder (IL) to J-M Manufacturing lawyer (LA) sent by
                      UPS and email with settlement paperwork and requesting stipulation of
                      dismissal paperwork related to Azevedo

 August 31, 2023      Letter from Browder (IL) to J-M Manufacturing lawyer (LA) sent by
                      UPS and email with settlement paperwork and requesting stipulation of
                      dismissal paperwork related to Perkins

                        Example Interstate Wires Related to Other
                  Depositions Employing Simmons Hanly Fraud Playbook

  Specific Date                                       Wire

February 25, 2020     Deposition of Boyance with participants in Arizona and California and
                      interstate telephone to participants in California

  May 14, 2020        Deposition of Azevedo by Zoom with participants in Illinois,
                      Massachusetts, Georgia, Connecticut, and Rhode Island

  July 17, 2019       Deposition of Swiger in West Virginia with lawyers participating by
                      phone from Pennsylvania and Texas

           Example Interstate Mail and Wires Related to Silencing Peebles

  Specific Date                                       Wire

 January/February     Call between Peebles (CA) and Garrett (IL) regarding unlawful and
       2020           unethical conduct

February 23, 2021     Transmittal by wire from Illinois to California of Declaration of Amy
                      Garrett f

  April 23, 2021      Transmittal by wire from Illinois to California of Declaration of Amy
                      Garrett




                                           - 76 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 77 of 89 PageID #:77




     June 2, 2021        Transmittal by wire from Illinois to California of Declaration of Amy
                         Garrett

       203.    These are just some examples of the interstate mails and wires used by the Simmons

Hanly Defendants to implement the Simmons Hanly Fraud Playbook in furtherance of the

fraudulent scheme to extract money from J-M Manufacturing. Simmons Hanly has filed hundreds

of cases against J-M Manufacturing all over the country that involve other defendants who are

across the United States. The Simmons Hanly Defendants have sent thousands of interstate mails

and wires – many of which are in the exclusive knowledge or control of Defendants – over many

years in furtherance of the fraudulent scheme as part of these cases.

       204.    In addition, the spreadsheet of 567 emails that Peebles sent to himself and that was

attached to the June 2, 2021 Declaration of Amy Garrett identifies many more interstate wires

related to the fraudulent scheme. The identity of the other participants in most of these emails is

in the exclusive knowledge or control of the Defendants. But at least 61 of those emails relate to

the implementation of the Simmons Hanly Fraud Playbook in the Bretado case, and more than 150

relate to the implementation of the scheme in other contexts, according to the declaration of

Garrett. That declaration and the spreadsheet it attaches are included with and incorporated into

this complaint as Exhibit B.

       205.    In addition to the predicate acts of mail and wire fraud, the Simmons Hanly

Defendants engaged in predicate acts related to witness testimony and obstruction of justice. As

set forth in the Peebles complaint, the Simmons Hanly Defendants have a pattern and practice of

encouraging or suborning perjured testimony. The Peebles complaint specifically identified the

use of this practice in Bretado. Indeed, Bretado offered false testimony at his deposition about

using ACP at work sites as a landscaper. The Simmons Hanly Defendants “helped” Bretado offer

that testimony at his deposition.


                                               - 77 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 78 of 89 PageID #:78




       206.    False testimony of product identification witnesses represented by the firm also has

been provided in at least Carranza and Montgomery, as described above. The near uniformity and

specificity about exposure to asbestos-containing products offered by Simmons Hanly product

identification witnesses also strongly suggests that these witnesses have been coached to provide

scripted and manufactured testimony.

       207.    The circumstances around the testimony offered by Simmons Hanly witnesses and

the contents of the Peebles complaint demonstrate that the Simmons Hanly Defendants have

engaged in witness tampering and obstruction of justice on a number of occasions in violation of

18 U.S.C. §§ 1503 & 1512. The facts show that Simmons Hanly Defendants knowingly sought to

and did corruptly persuade witnesses who it represented to influence testimony and induce the

withholding of facts, such as facts related to alternate exposure, at depositions for the purpose of

impeding justice and extracting money from J-M Manufacturing.

       208.    The facts also show that on repeated occasions at depositions or in discovery

responses the Simmons Hanly Defendants solicited and provided false information to corruptly

obstruct, influence, and impede justice in many different cases filed by the firm against J-M

Manufacturing. The purpose of this conduct was to cause J-M Manufacturing to settle cases or to

corruptly obtain jury verdicts.

               4.      The Simmons Hanly Defendants’ Conduct Goes Well Past Routine
                       Litigation Activity and Is Actionable

       209.    The misconduct in this case extends well beyond normal litigation conduct. It is a

persistent pattern of fraud, deceit, and other unlawful conduct.

       210.    In this lawsuit, J-M Manufacturing does not seek to re-litigate past state court cases

or challenge the validity of any state court judgment. This case, instead, seeks to hold the Simmons

Hanly Defendants accountable for a series of illegal and tortious acts to obtain settlements and



                                               - 78 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 79 of 89 PageID #:79




other litigation results at the expense of J-M Manufacturing. This unlawful conduct caused J-M

Manufacturing to incur significant fees and costs to fend off claims that the Defendants knew were

baseless and affirmative propped up by fraud, and otherwise induced the company into settlements

that it would not have entered had it known about the scope and pattern of the Defendants’

misconduct.

          211.   The scheme employed by the Simmons Hanly Defendants was based around sham

lawsuits designed to enrich themselves. The Simmons Hanly Defendants developed the Simmons

Hanly Fraud Playbook to engage in that scheme at the expense of J-M Manufacturing and other

similarly situated companies. Even one the firm’s former partners recognized that the firm’s

“outrageous, unlawful and unethical conduct” over the course of more than three years when he

worked at the firm was not “a ‘normal part’ of the employment relationship.” The misconduct,

instead, went well beyond routine litigation activity.

          212.   Moreover, the Simmons Hanly Defendants’ misconduct did not just impact J-M

Manufacturing. It drained resources that could have been used to compensate people with

asbestos-related disease, increased the likelihood of, or contributed to, the bankruptcy of a number

of U.S. companies, impacting many people’s jobs and retirements; and wasted judicial resources.

          213.   The Simmons Hanly Fraud Playbook still is being used in asbestos cases and will

continue to inflict harm unless it is stopped.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                           Violations of the Racketeered Influenced
                        Corrupt Organizations Act (18 U.S.C. § 1962(c))

          214.   J-M Manufacturing incorporates the preceding paragraphs as if fully set forth

herein.



                                                 - 79 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 80 of 89 PageID #:80




       215.    Each Defendant is a “person” under 18 U.S.C. § 1961(3). This is because each

Defendant is capable of holding a legal or beneficial interest in property.

       216.    Simmons Hanly is a business enterprise, and the individual Defendants willing and

knowingly conducted and participated in the firm’s affairs through a pattern of racketeering

activity that affected interstate commerce.

       217.    The Simmons Hanly Defendants collectively also form an association-in-fact

enterprise that includes asbestos plaintiffs and witnesses represented by Simmons Hanly and local

law firms engaged by Simmons Hanly as part of the firm’s asbestos litigation. The Simmons

Hanly Defendants willing and knowingly conducted and participated in that association-in-fact

enterprise through a pattern of racketeering activity that affected interstate commerce.

       218.    The law firm enterprise and the association-in-fact enterprise affect interstate

commerce because the enterprise members knowingly file sham lawsuits leveraging the Simmons

Hanly Fraud Playbook across the country for the purpose of extracting settlement and otherwise

obtaining recoveries through a pattern of racketeering activity.         The lawsuits specifically

mentioned in this complaint alone include lawsuits in Illinois, California, Washington, West

Virginia, Massachusetts, and Vermont, and have included defendants from all parts of the United

States. The conduct of the enterprises has affected interstate commerce because the enterprise

members have obtained hundreds of millions of dollars in settlement payments, bankruptcy trust

payouts, and verdicts against manufacturers and distributors of asbestos-containing products

throughout the United States.

       219.    The object of the law firm enterprise and the association-in-fact enterprise was to

obtain settlements or other recoveries from and cause litigation expense and other loss to J-M

Manufacturing and others through a pattern of racketeering activity.




                                               - 80 -
        Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 81 of 89 PageID #:81




          220.   In furtherance of their scheme, the Simmons Hanly Defendants reasonably foresaw

the use of, and did in fact repeatedly use, or cause the use of, interstate mails and wires in

furtherance of essential parts of the scheme.

          221.   Each of the Simmons Hanly Defendants intended to obtain or cause the loss of

money or property of J-M Manufacturing and others by means of materially false or fraudulent

pretenses or representations that were part of a pattern of racketeering activity.

          222.   Each the Simmons Hanly Defendants engaged or took part in multiple instances of

mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343) in knowing furtherance of the

enterprises’ objectives. Numerous predicate acts of mail fraud and wire fraud effected by the

Simmons Hanly Defendants in knowing furtherance of the enterprises’ objectives are set forth in

detail in this complaint and are included in Exhibit B. These predicate acts by enterprise members

in furtherance of the objectives of the law firm and association-in-fact enterprises span more than

five years and were persistent through the entire time period.

          223.   The predicate acts of mail and wire fraud include the interstate transmission by mail

and wire of fraudulent discovery and pleadings, perjured testimony, and other communications

and documents in furtherance of the objectives of the enterprises.

          224.   Additional instances of mail and wire fraud effected by the Simmons Hanly

Defendants that will demonstrate the pervasiveness of the pattern of racketeering activity are in

the exclusive knowledge or control of the Defendants, and discovery will reveal these predicate

acts.

          225.   In addition to mail and wire fraud, each of the Simmons Hanly Defendants intended

to obtain or cause the loss of money or property of J-M Manufacturing and others by means of

witness tampering and obstruction of justice that was a part of the pattern of racketeering activity.




                                                - 81 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 82 of 89 PageID #:82




       226.    Each of the Simmons Hanly Defendants engaged in or took part in multiple

violations of 18 U.S.C. § 1512 (witness tampering) and 18 U.S.C. § 1503 (obstruction of justice).

This include influencing witnesses represented by the firm to offer false testimony or not disclose

facts during depositions, preparing and serving fraudulent pleadings and discovery, and otherwise

engaging in fraudulent acts in furtherance of the scheme described in this complaint. Information

about additional instances of witness tampering and obstruction of justice effected by the Simmons

Hanly Defendants is in the exclusive knowledge or control of the Defendants, and discovery will

reveal that information.

       227.    The predicate acts of the Simmons Hanly Defendants were related in that they

shared the same or similar purposes, results, participants, victims, methods of commission, and

were otherwise interrelated by distinguishing characteristics and were not isolated events, but

rather regular and integral steps in furtherance of the Simmons Hanly Defendants’ scheme to

defraud J-M Manufacturing.

       228.    The predicate acts of the Simons Hanly Defendants also were continuous in that

they have occurred on a regular basis since at least 2019, affected numerous civil lawsuits and, on

information and belief, remain ongoing in cases against J-M Manufacturing and others.

       229.    There is a significant threat – and J-M Manufacturing fully expects – that the pattern

of racketeering activity of the Defendants will continue in to the future. This is because Simmons

Hanly has active asbestos lawsuits, including ones against J-M Manufacturing, and continues to

file asbestos lawsuits.

       230.    The Simmons Hanly Defendants predicate acts of mail fraud, wire fraud, witness

tampering, and obstruction of justice constitute a pattern of racketeering for purposes of 18 U.S.C.

§§ 1961(5) and 1962(c).




                                               - 82 -
         Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 83 of 89 PageID #:83




           231.   By reason of the Simmons Hanly Defendants’ violation of 18 U.S.C. § 1962(c),

J-M Manufacturing has been injured in its business and/or property in an amount to be proven at

trial.

           232.   Specifically, the Simmons Hanly Defendants’ violation of 18 U.S.C. § 1962(c) has

proximately caused J-M Manufacturing to expend substantial money and resources to defend

claims based on false information and enter and/or satisfy settlements or judgements that were

inflated due to the Defendants’ pattern of racketeering activity.

           233.   By reason of this violation of 18 U.S.C. § 1962(c), J-M Manufacturing is entitled

to treble damages, attorney fees, costs, and interest on all of the foregoing.

                                              COUNT II

                            Violations of the Racketeered Influenced
                         Corrupt Organizations Act (18 U.S.C. § 1962(d))

           234.   J-M Manufacturing incorporates the preceding paragraphs as if fully set forth

herein.

           235.   Beginning in or before 2019, and continuing through the date of this complaint, the

Simmons Hanly Defendants knowingly and unlawfully conspired and agreed with each other to

conduct the affairs of the enterprises described above through a pattern racketeering activity that

involved mail fraud, wire fraud, witness tampering, and obstruction of justice.

           236.   At all relevant times, each conspirator knew of and participated in this scheme

through specific overt acts intended to further its objective of defrauding J-M Manufacturing. For

example, and as described in more detail above, the Simmons Hanly Defendants orchestrated and

implemented a fraudulent scheme to offer perjured testimony, suppress evidence of exposure to

the products of bankrupt companies, make misrepresentations of fact, file baseless claims in an

attempt to extract settlements, and silence anyone who attempted to expose the firm’s fraud.



                                                 - 83 -
         Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 84 of 89 PageID #:84




           237.   The Simmons Hanly Defendants knew about and agreed to the commissions of two

or more predicate acts as part of the RICO conspiracy.

           238.   The Simmons Hanly Defendants conspired to unlawfully extract settlement

payments and verdicts from J-M Manufacturing and otherwise cause the company to spend money.

           239.   By reason of the Simmons Hanly Defendants’ violation of 18 U.S.C. § 1962(c),

J-M Manufacturing has been injured in its business and/or property in an amount to be proven at

trial.

           240.   By reason of the Simmons Hanly Defendants’ violation of 18 U.S.C. § 1962(d),

J-M Manufacturing is entitled to treble damages, attorney fees, costs, and interest on all of them.

                                            COUNT III

                                        Common Law Fraud

           241.   J-M Manufacturing incorporates the preceding paragraphs as if fully set forth

herein.

           242.   During the course of their racketeering activity, the Simmons Hanly Defendants

made repeated and knowing false statements of fact with the intent to induce J-M Manufacturing

to spend money on sham litigation and enter into settlements.

           243.   In many of the cases infected by the Simmons Hanly Defendants’ fraud and false

statements, the Defendants have induced J-M Manufacturing to settle.             For example, the

Defendants induced J-M Manufacturing to settle Bretado, Yates, Montgomery, Boyance, Azevedo,

and Perkins, which are discussed in this complaint.

           244.   In the course of those cases, the Simmons Hanly Defendants had a duty as part of

discovery obligations and court rules not to make or cause to be made false statements, and to

truthfully answer discovery requests.




                                                - 84 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 85 of 89 PageID #:85




       245.    The Simmons Hanly Defendants made or caused to be made material, important,

and knowing misrepresentations of fact in those cases.

       246.    The Simmons Hanly Defendants made or caused to be made material, important,

and knowing omissions of fact in those cases.

       247.    As an example, the Simmons Hanly Defendants omitted or caused the omission of

information about the CertainTeed/DBMP bankruptcy claim of Perkins despite being required to

disclose it in response to discovery requests in Perkins.

       248.    J-M Manufacturing did not know the facts about the CertainTeed/DBMP

bankruptcy claim when it entered into a settlement in Perkins and was induced by the knowing

misrepresentations and omissions of the Simmons Hanly Defendants to enter into that settlement

to the detriment of J-M Manufacturing.

       249.    The Simmons Hanly Defendants have misrepresented and fraudulently concealed

facts in the cases discussed in this complaint and other cases with the intent that J-M

Manufacturing, other tort defendants, courts, and juries rely and act upon them.

       250.    The Simmons Hanly Defendants misrepresented and fraudulently concealed facts

in the cases discussed in this complaint and other cases with the intent to deceive and defraud J-M

Manufacturing, other tort defendants, courts, and juries.

       251.    As more fully set forth above, J-M Manufacturing had a right to rely upon, and

acted in reasonable and/or justifiable reliance upon, the fraudulent misrepresentations and

nondisclosures of the Simmons Hanly Defendants.

       252.    As a proximate result of the Simmons Hanly Defendants’ fraudulent

misrepresentations and nondisclosures, J-M Manufacturing suffered compensatory damages in an




                                                - 85 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 86 of 89 PageID #:86




as yet undetermined amount to be proven at trial, which exceeds $75,000, exclusive of interests

and costs.

          253.   J-M Manufacturing’s reliance on the misrepresentations and nondisclosures of the

Simmons Hanly Defendants was a substantial factor in causing J-M Manufacturing’s harm.

                                            COUNT IV

                                       Unjust Enrichment

          254.   J-M Manufacturing incorporates the preceding paragraphs as if fully set forth

herein.

          255.   The Simmons Hanly Defendants unjustly received a benefit from J-M

Manufacturing through the fraudulent and unlawful activity described in this complaint. That

benefit came in the form of a percentage of inflated or unjustified settlements with and other

recoveries from J-M Manufacturing.

          256.   The Simmons Hanly Defendants have unjustly retained that benefit to the detriment

of J-M Manufacturing.

          257.   The retention of the benefit that J-M Manufacturing conferred on the Simmons

Hanly Defendants as a result of their unjust conduct violates fundamental principles of justice,

equity, and good conscience.

          258.   The Simmons Hanly Defendants are aware of and appreciate the benefits bestowed

on them by J-M Manufacturing.

          259.   The Simmons Hanly Defendants should be compelled to disgorge to J-M

Manufacturing all unlawful and inequitable proceeds they received from J-M Manufacturing.




                                               - 86 -
    Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 87 of 89 PageID #:87




                                             COUNT V

                                        Civil Conspiracy

          260.   J-M Manufacturing incorporates the preceding paragraphs as if fully set forth

herein.

          261.   As particularly described above, the Simmons Hanly Defendants had a meeting of

the minds on a common object to be accomplished and an agreement to commit wrongful acts to

that end. Specifically, the Simmons Hanly Defendants knowingly and unlawfully conspired and

agreed with each other to commit numerous unlawful acts related to asbestos litigation against J-M

Manufacturing.

          262.   The Simmons Hanly Defendants committed various unlawful and wrongful acts as

more particularly described above to extract settlement payments and other recoveries from J-M

Manufacturing and otherwise cause the company to spend money.

          263.   The Simmons Hanly Defendants were aware of each other’s plans to commit the

wrongful acts described in this complaint.

          264.   Consistent with their agreement, the Simmons Hanly Defendants intended that the

wrongful acts be committed.

          265.   As a proximate result of the conspirators’ civil conspiracy, J-M Manufacturing

suffered compensatory damages in an amount to be proven at trial, which exceeds $75,000,

exclusive of interests and costs.

                                    PRAYER FOR RELIEF

          J-M Manufacturing requests that the Court enter judgment in its favor and against the

Defendants, each of them jointly and severally, to include:

          a.     Compensatory damages in an amount to be determined at trial.




                                              - 87 -
     Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 88 of 89 PageID #:88




        b.      Trebled damages attributable to the RICO claims, as permitted by 18 U.S.C. § 1964.

        c.      Punitive damages on the damages attributable to the common law fraud and
                common law conspiracy claims.

        d.      Disgorgement to the benefit of J-M Manufacturing of the benefits received by the
                Simmons Hanly Defendants unjustly.

        e.      Attorney’s fees, costs, and pre- and post-judgment interest.

        f.      An injunction prohibiting the Defendants from continuing to perpetrate their
                fraudulent scheme against J-M Manufacturing.

        g.      Such other relief as justice may require.

        In connection with the requested relief, J-M Manufacturing demands a jury trial on all

issues so triable.

Dated: May 10, 2024                            Respectfully Submitted,


                                               /s/ Ashwin J. Ram
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                                                - 88 -
Case: 1:24-cv-03853 Document #: 1 Filed: 05/10/24 Page 89 of 89 PageID #:89




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                                   - 89 -
